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                        EXHIBIT A
                                                                                               E-FILED IN OFFICE - CB
        Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 2 of 100CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                  23-C-01894-S6
                                                                                              3/22/2023 5:48 PM
                                                                                            TIANA P. GARNER, CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

Barbara Betts,                                         )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     )      Civil Action No.
                                                       )
JAY E. JOHNSON; MARK LEGARDA;                          )        JURY TRIAL DEMANDED
MARTIN RUSSO; MATTHEW EAST;                            )
                                                                        23-C-01894-S6
DOUG BONDAR; MARK BARNES;                              )
NANCY LIVINGSTON; KENDALL PATIENT                      )
RECOVERY U.S., LLC; CARDINAL                           )
HEALTH, INC. and JOHN DOE NOS. 1-10,                   )
                                                       )
         Defendants.                                   )

                          RENEWAL 1 COMPLAINT FOR DAMAGES

         Plaintiff Barbara Betts hereby files this Complaint for Damages against Defendants

Kendall Patient Recovery U.S., LLC, Cardinal Health, Inc. Jay E. Johnson, Mark Legarda,

Martin Russo; Matthew East, Doug Bondar, Mark Barnes, Nancy Livingston, and John Does

Nos. 1-10 (collectively referred to as the “Defendants”), showing this Court as follows:

                                         INTRODUCTION

        1.       This action arises from injuries sustained by Barbara Betts as a proximate result

of exposure to ethylene oxide that was used on, stored on, and emitted from the premises owned,

operated, and/or controlled by Defendants. Defendants’ unsafe practices using ethylene oxide for

sterilizing medical products, by and through their employees and agents, resulted in the escape

and emission of this toxic organic compound from the premises owned and/or controlled by

these entities, and contaminated the air in the adjacent community where Barbara Betts lived



1
    This is a renewal action as to Defendant Kendall Patient Recovery U.S., LLC only.
                                                  1
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and/or worked. As a proximate result of Defendants’ unsafe ethylene oxide emissions, Plaintiff

contracted and was diagnosed with and is suffering from Breast Cancer.

      2.       The State Court of Gwinnett County has original jurisdiction over this matter, and

this action is not subject to federal jurisdiction or removal to federal court under the provisions of

28 U.S.C. § 1331 or 1332 because the claims asserted in this action relate to a tort committed in

the State of Georgia, only Georgia state law claims are asserted, and one or more of the parties in

interest properly joined and served as a defendant in this action is a citizen of and domiciled in

the state in which the action has been brought. See 28 U.S.C. § 1441(b).

                         RENEWAL ACTION AS TO SOME DEFENDANTS

      3.       This is a renewal action as to Defendant Kendall Patient Recovery U.S., LLC

filed within the original statute of limitations pursuant to O.C.G.A. § 9-2-61. 2 The prior dismissal

against Defendant Kendall Patient Recovery U.S., LLC was not based on the merits and was

without prejudice. Plaintiff’s claims in the present action are the same claims based on the same

facts and circumstances as the original action.

      4.       Plaintiff properly served Defendant Kendall Patient Recovery U.S., LLC within

the statute of limitations, and the action renewed herein was not void and was such a valid action

as may be renewed under O.C.G.A. § 9-2-61.

      5.       Pursuant to O.C.G.A. § 9-2-61, Plaintiff is entitled to re-file this suit within six

months of the dismissal date.

      6.       Plaintiff has paid any and all costs from the dismissed action and all other

conditions precedent have been met.



2
  As to Defendants Cardinal Health, Inc., Jay Johnson, Mark Legarda, Martin Russo; Matthew
East, Mark Barnes, Doug Bondar, Nancy Livingston, and John Does Nos. 1-10, this is a new
filing.
                                                  2
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                          PARTIES, JURISDICTION AND VENUE

      7.       Barbara Betts (“Plaintiff”) is a citizen, domicile, and resident of Georgia, and

submits to the jurisdiction of this Court by filing this Complaint.

      8.       Defendant Kendall Patient Recovery U.S., LLC (“KPR”) was a limited liability

company registered to do business in Georgia until its dissolution on August 19, 2022. Pursuant

to O.C.G.A. § 14-4-161, Defendant KPR may be served with legal process through its registered

agent at the time of dissolution, CT Corporation System located at 289 S Culver St.,

Lawrenceville, Gwinnett County, Georgia, 30046-4805. Defendant KPR is subject to the in

personam jurisdiction of this Court as it transacted significant business in Georgia, including

owning and operating the medical sterilization facility located at 1430 Marvin Griffin Road,

Augusta, Georgia 30913.

      9.       Defendant Cardinal Health, Inc. is an Ohio corporation and can be served with

legal process at its principal place of business located at 7000 Cardinal Place, Dublin, OH 43017.

Cardinal Health is the parent company KPR. Cardinal Health is subject to the in personam

jurisdiction of this Court as it transacts significant business in Georgia. Cardinal Health, through

its ownership, agency, joint venture, and as an alter ego of KPR, is responsible for its own

negligence in the management and control of KPR and is also vicariously liable for KPR’s

negligent conduct.

      10.      Defendant Mark Legarda (“Legarda”) is a resident, domiciliary, and citizen of

Columbia County, Georgia and can be served with legal process at 4112 Fox Bruch Drive,

Evans, GA 30809-4856. Defendant Legarda has worked as the Sterilization Manager for KPR at

the Augusta Facility since 2015. At all times relevant to this Complaint, Defendant Legarda

acted in the course and scope of his employment and was an agent of KPR and Cardinal Health.



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Legarda is liable for his own tortious acts/inactions and KPR and Cardinal Health are vicariously

liable for the tortious acts of its employees and agents through the doctrine of respondeat

superior.

      11.      Defendant Jay Johnson (“Johnson”) is a resident, domiciliary, and citizen of

Columbia County, Georgia and can be served with legal process at 896 Sturbridge Dr, Evans,

GA 30809-4516. Defendant Johnson was the Environmental Health, Safety Manager for KPR at

the Augusta Facility from 2018 to 2021. At all times relevant to this Complaint, Defendant

Johnson acted in the course and scope of his employment and was an agent of KPR and Cardinal

Health. Johnson is liable for his own tortious acts/inactions and KPR and Cardinal Health are

vicariously liable for the tortious acts of its employees and agents through the doctrine of

respondeat superior.

      12.      Defendant Martin Russo (“Russo”) is a resident of Florida and can be served with

legal process at 113 Sugarberry Drive, Jupiter, Florida 33458-7143. Defendant Russo was the

Director of Operations for KPR at the Augusta Facility from 2014 to 2018. At all times relevant

to this Complaint, Defendant Russo acted in the course and scope of his employment and was an

agent of KPR and Cardinal Health. Russo is liable for his own tortious acts/inactions and KPR

and Cardinal Health are vicariously liable for its employees and agents through the doctrine of

respondeat superior.

      13.      Defendant Matthew East (“East”) is a resident, domiciliary, and citizen of

Columbia County, Georgia and can be served with legal process at 2013 Pheasant Creek Dr 7C,

Augusta, GA 30907-9222. Defendant East was the Environmental Health, Safety Manager for

KPR at the Augusta Facility from 2005 through 2018. At all times relevant to this Complaint,

Defendant East acted in the course and scope of his employment and was an agent of KPR and



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Cardinal Health. East is liable for his own tortious acts/inactions and KPR and Cardinal Health

are vicariously liable for its employees and agents through the doctrine of respondeat superior.

      14.      Defendant Doug Bondar (“Bondar”) is a resident, domiciliary, and citizen of

Columbia County, Georgia and can be served with legal process at 757 Locks Way, Augusta,

GA 30907-4973. Defendant Bondar was the Senior Sterilization Manager for KPR at the

Augusta Facility from 1991 through 2013. Defendant Bondar designed and maintained the

sterilization system at the Augusta Facility and was responsible for overall equipment design,

specifications, installation, emission control systems, and sterilization process development. At

all times relevant to this Complaint, Defendant Bondar acted in the course and scope of his

employment and was an agent of KPR and Cardinal Health. Bondar is liable for his own tortious

acts/inactions and KPR and Cardinal Health are vicariously liable for its employees and agents

through the doctrine of respondeat superior,

      15.      Defendant Mark Barnes (“Barnes”) is a resident, domiciliary, and citizen of

McDuffie County, Georgia and can be served with legal process at 5328 Adams Chapel Rd.,

Dearing, GA 30808-2532. Defendant Barnes has worked as a Process Specialist in the

Sterilization Department for KPR at the Augusta Facility since 2009. Barnes’s duties include

maintaining and repairing all sterilization equipment at the Augusta Facility. At all times relevant

to this Complaint, Defendant Barnes acted in the course and scope of his employment and was

an agent of KPR and Cardinal Health. Barnes is liable for his own tortious acts/inactions and

KPR and Cardinal Health are vicariously liable for their employees’ and agents’ tortious

acts/inactions through the doctrine of respondeat superior.

      16.      Defendant Nancy Livingston (“Livingston”) is a resident, domiciliary, and citizen

of Richmond County, Georgia and can be served with legal process at 3413 Gary Cir., Augusta,



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GA 30906-3775. Defendant Livingston has worked as a Sterility Release Technician in the

Sterilization Department for KPR at the Augusta Facility since 2012. At all times relevant to this

Complaint, Defendant Livingston acted in the course and scope of his employment and was an

agent of KPR and Cardinal Health. Livingston is liable for her own tortious acts/inactions and

KPR and Cardinal Health are vicariously liable for their employees’ and agents’ tortious

acts/inactions through the doctrine of respondeat superior.

      17.      KPR and Cardinal Health have, at all relevant times, operated a facility in

Richmond County, Georgia that sterilizes medical equipment using the chemical ethylene oxide

(“EtO”). The facility (the “Augusta Facility”) is located at 1430 Marvin Griffin Road, Augusta,

Georgia 30913 and was opened in 1968.

      18.      At all times relevant to this Complaint, Defendants Johnson, Legarda, Russo,

East, Bondar, Barnes, and Livingston were high-level supervisors, managers, and/or operators

employed by KPR and Cardinal Health at the Augusta Facility (hereinafter referred to as the

“Augusta Managers”). At all times relevant to this Complaint, the Augusta Managers were acting

in the course and scope of their employment and were agents of Cardinal Health and KPR

(collectively, the “KPR Defendants”). The Augusta Managers were responsible for the operation,

management, and/or control of the Augusta Facility, including the Augusta Facility’s handling of

EtO. Cardinal Health and KPR are vicariously liable for the tortious acts and omissions of all of

their employees and agents, including, but not limited to, the Augusta Managers and any other

individuals and agents who are determined to have contributed to Plaintiff’s harm and damages.

      19.      Defendants John Does No. 1 through 10 are believed to be Georgia or foreign

corporations, partnerships, associations, adult individuals, or other legal entities that have

transacted business in the State of Georgia and are responsible for the injuries and damages



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incurred by Plaintiff. Once the identity and the whereabouts of the John Doe Defendants are

established, said Defendant(s) will be served with a copy of summons and complaint as provided

by law. Defendants John Does No. 1 through 10 are subject to the jurisdiction and venue of this

Court.

         20.   Jurisdiction is proper because all Defendants are residents of Georgia or are subject

to the exercise of long-arm jurisdiction pursuant to O.C.G.A. § 9-10-91 et seq.. Defendants have

transacted substantial business in Georgia, created and continue to maintain a public nuisance in

Georgia, and committed tortious acts and omissions in Georgia, including the tortious acts and

omissions giving rise to this Complaint.

         21.   Venue is proper in this Court as one or more of the Defendants are citizens of and/or

maintain a registered agent for service of process in Gwinnett County, Georgia and this suit is

brought against Defendants as joint tortfeasors. G.A. Const. Art. I, § 2, ¶¶ III, IV & VI; O.C.G.A.

§§ 9-10-31, 9-10-93, 14-2-510.

         22.   This Court has jurisdiction over the subject matter of this Complaint and the

Defendants.

                                 STATUTE OF LIMITATIONS

                              Misrepresentation and Concealment

         23.   Defendants negligently misrepresented, altered, and concealed the true nature and

extent of EtO emissions from the Augusta Facility from government entities and the public in

general, subjecting Plaintiff and those who live and work in the nearby community to an elevated

cancer risk. These facts were not discovered until recently. Therefore, Plaintiff’s claims are timely

brought before the Court.




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                                         Public Nuisance

      24.      Pursuant to Georgia law, “[t]he rule that the statute of limitations does not run in

favor of a nuisance, only applies to public nuisances, and grows out of the impropriety of imputing

laches to the public.” See Davis v. City of Forsyth, 275 Ga. App. 747, 750 (2005) (citing Anneberg

v. Kurtz, 197 Ga. 188, 194(2) (1944)). Plaintiff’s public nuisance claims are timely brought before

the court.

                                              RICO

      25.      Pursuant to O.C.G.A. § 16-14-8, a plaintiff shall have five years from the last act

to commence a civil lawsuit based upon the corrupt dealings of an organization. Therefore,

Plaintiff’s Rico claims are timely brought before the court.

                                       RELEVANT FACTS

      26.      Plaintiff lived and/or worked in close proximity to Defendants’ facility

      27.      Plaintiff was diagnosed with Breast Cancer as a result of substantial chronic

exposure to carcinogens emitted from Defendants’ facility.

      28.      At the time of diagnosis, Plaintiff was unaware that the disease was caused by

exposure to Ethylene Oxide.

                                         Ethylene Oxide

      29.      Ethylene oxide (“EtO”) is an industrial organic chemical compound made by

reacting ethylene and oxygen.

      30.      At room temperature, EtO is a colorless gas with a sweet, ether-like odor that is

rapidly absorbed after inhalation. 3




3
 Agency for Toxic Substances and Disease Registry, “Medical Management Guidelines for
Ethylene Oxide” https://www.atsdr.cdc.gov/MMG/MMG.asp?id=730&tid=133
                                                 8
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        31.    Solutions of EtO can penetrate human skin. Most exposures to EtO occur by

inhalation or skin contact.

        32.    In its gaseous form, EtO leaves no residue on the items it contacts.

        33.    EtO is heavier than air, and can cause asphyxiation if exposure occurs in enclosed,

poorly ventilated, or low-lying areas.

        34.    EtO’s sweet odor does not provide sufficient warning of hazardous concentrations,

as EtO’s odor is detected at 500 parts per million (ppm), while OSHA’s (Occupational Health and

Safety Administration) permissible exposure limit is 1 ppm averaged over eight hours.

        35.    EtO is a highly reactive and mutagenic agent that reacts with many constituents of

body tissue causing cellular and tissue dysfunction and destruction.

        36.    Although EtO was first synthesized in 1859, it achieved industrial importance

during World War I as a precursor to both the coolant ethylene glycol (anti-freeze) and the

chemical weapon mustard gas.

        37.    Due to its flammability and extreme explosiveness, EtO is used as a main

component of thermobaric weapons and must be handled and shipped as a refrigerated liquid to

control its hazardous nature.

        38.    The half-life of EtO in the atmosphere, assuming ambient concentrations of 5 × 105

hydroxyl radicals/cm3, is 211 days. EtO degrades by reaction with hydroxyl radicals that are

photochemically produced. Atmospheric EtO is not removed by rain or absorption into aqueous

aerosols. 4

        39.    Since the 1940’s, EtO has been known to be mutagenic in many organisms, from

viruses to mammals, by causing chromosomal damage.



4
    https://www.ncbi.nlm.nih.gov/books/NBK304417/
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        40.    Exposure to elevated levels of EtO has been shown to cause lymphoid cancers and

tumors of the brain, lung, connective tissue, uterus, and mammary gland in animals exposed by

inhalation, as well as an increase in mononuclear cell leukemia and brain tumors in rats.

        41.    In a 1977 article, the National Institute of Occupational Safety and Health

(“NIOSH”) concluded that occupational exposure to ethylene oxide may increase the frequency of

genetic mutations in humans. The NIOSH report also raised concerns about the potential

carcinogenicity of ethylene oxide.

        42.    In 1981, NIOSH released a subsequent report which recommended that EtO be

regarded in the workplace as a potential occupational carcinogen. NIOSH based its

recommendation on new evidence of EtO’s carcinogenic, mutagenic, and reproductive hazards,

including studies demonstrating that EtO induced cancer in experimental animals. Specifically, the

studies showed an increase in instances of leukemia in line with increases of EtO concentrations,

in addition to other adverse effects on reproductive health. An epidemiological investigation of

Swedish workers exposed to EtO also revealed increased incidences of leukemia and other cancers.

        43.    In 1984, the Occupational Safety and Health Administration (OSHA) promulgated

a stricter standard of permissible exposure limits for occupational exposure to EtO. The basis for

this action was OSHA’s determination, based on epidemiological and experimental evidence, that

EtO “presents a carcinogenic, mutagenic, genotoxic, reproductive, neurologic and sensitization

hazard to workers.” 5

        44.    In 1985, the U.S. Department of Health and Human Services published the Fourth

Annual Report on Carcinogens and classified EtO as reasonably anticipated to be a human

carcinogen.



5
    49 FR 25734-01, 1984 WL 146443.
                                                10
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      45.      In the early 1990s, NIOSH published the largest and most informative

epidemiological study of ethylene oxide. The study analyzed over 18,000 employees working with

EtO at fourteen different industrial facilities sterilizing medical equipment and food spices. The

study found sufficient evidence to support a causal link between exposure to ethylene oxide and

increased mortality from lymphatic and hematopoietic cancers. Follow-up studies have

additionally demonstrated an association between EtO exposure and breast cancer.

      46.      In 1994, as a result of these findings, the World Health Organization (“WHO”)

listed EtO as a Group 1 human carcinogen––the agency’s highest risk classification––finding

ethylene oxide to be carcinogenic to humans.

      47.      In 2000, the U.S. National Institutes of Health (“NIH”) revised EtO’s designation

as “reasonably anticipated to be a human carcinogen” to “known to be a human carcinogen” based

on sufficient evidence of carcinogenicity from human epidemiological studies and studies on

carcinogenetic mechanisms of EtO. 6

      48.      In December of 2016, in its IRIS study, the U.S. Environmental Protection Agency

(“EPA”) changed its designation of EtO from “probably carcinogenic” to “carcinogenic.” The IRIS

study is incorporated by reference herein. 7

      49.      The International Agency for Research on Cancer (IARC), in 2018, categorized

EtO as carcinogenic to humans.

      50.      A large epidemiologic study performed by NIOSH, on sterilizer workers exposed

to EtO, reported positive exposure-response trends to lymphohematopoietic cancer mortality,

primarily in males and in particular for lymphoid cancer (i.e., non-Hodgkin lymphoma [NHL],



6
 https://ntp.niehs.nih.gov/ntp/roc/content/profiles/ethyleneoxide.pdf
7
 Evaluation of the Inhalation Carcinogenicity of Ethylene Oxide, published December 2016.
https://cfpub.epa.gov/ncea/iris/iris_documents/documents/toxreviews/1025tr.pdf
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myeloma, and lymphocytic leukemia), and for breast cancer mortality in females. The positive

exposure-response trend for female breast cancer was confirmed in an incidence study based on

the same worker cohort. (Steenland et al., 2003). There is further supporting evidence for an

association between EtO and breast cancer from additional studies.

      51.      Non-occupational exposure to EtO may also come from tobacco, residues in spices,

and other food products (Jensen, 1988; Fowles et al., 2001) and some skin-care products (Kreuzer,

1992). EtO is also formed during the combustion of fossil fuel, but the amount is expected to be

negligible. Any non-occupational exposures to EtO are considered minor. 8

                                      EtO’s Regulatory Framework

      52.      Air pollutants are defined as either criteria air pollutants or hazardous air pollutants

by the U.S. Environmental Protection Agency (“EPA”). EtO is classified and regulated as a

Hazardous Air Pollutant (“HAP”) by the EPA.

      53.      HAPs, or air toxics, are designated as such because they are either known or

suspected carcinogens, or causative agents of other serious health problems such as neurological,

reproductive, or respiratory problems.

      54.      The Clean Air Act (“CAA”) identifies EtO as a HAP because it is carcinogenic in

humans, is highly mutagenic and teratogenic (an agent or factor that causes malformation of an

embryo) and has significant acute and sub-chronic exposure health effects.

      55.      Unlike criteria air pollutants, air toxics regulated by the EPA, like EtO, have no

universal, predefined risk levels that clearly delineate acceptable or unacceptable thresholds.




8
 Ethylene Oxide, in Chemical Agents and Related Occupations,
https://www.ncbi.nlm.nih.gov/books/NBK304417/
                                                 12
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        56.      Under Section 112 of the Clean Air Act (Air Toxics), the EPA is required to develop

national emission standards for hazardous air pollutants (“NESHAP”) for source categories that

have been identified as major and area sources of HAPs.

        57.      The NESHAP requirement applies to sources that use at least 1 ton of EtO in

sterilization operations in each 12-month period.

        58.      Despite stating that it has no predefined risk level for acceptable exposure levels,

the EPA has implemented a two-step risk-based decision framework for the NESHAP program

which first sets an upper limit of acceptable risk at 1-in-10,000, or 100-in-1 million, lifetime cancer

risk for the most exposed person. A cancer risk of 1 in 10,000 means that if 10,000 people are

exposed to the same concentration of a pollutant continuously over 70 years, one person would

likely contract cancer from this exposure. This risk is in addition to any risk borne by a person not

exposed to the air toxic.

        59.      In order to protect as many people as possible, the NESHAP framework next sets a

target of an individual lifetime risk level of no higher than 1-in-1 million. Other health and risk

factors are considered in order to complete an overall judgement on acceptability. 9

        60.      Georgia EPD regulates air quality in the State of Georgia under the Georgia Air

Quality Act, and also implements regulations under the Clean Air Act pursuant to a delegation of

authority from the EPA.

        61.      Georgia EPD’s level of concern for EtO is 0.02 micrograms per cubic meter

(µg/m3) of air, which represents an additional cancer risk of 100 cases for every million people

exposed over the course of their lifetime. 10




9
    https://www.epa.gov/national-air-toxics-assessment/nata-frequent-questions#risk1
10
     https://www.epa.gov/il/ethylene-oxide-emissions-frequent-questions
                                                  13
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        62.     In the course of regulating air quality, Georgia EPD coordinates with the EPA in

the adoption of rules and relies upon information and studies done by the EPA. The Georgia EPD

does not require any stricter testing, reporting, recording, or risk assessment than the EPA.

        63.     In 2006, the EPA began a 10-year study to better understand the risks of EtO to

human health. The results prompted the agency to move EtO from the list of chemicals that could

cause cancer to the list of those that definitively cause cancer. The EPA also updated a key risk

number for the chemical to reflect that EtO was 30 times more likely to cause certain types of

cancers than scientists had previously predicted.

        64.     In 2018, the EPA used that new risk value to create a periodic report that assesses

health risks from releases of airborne toxins in the U.S. That report, called the National Air Toxics

Assessment (“NATA”), flagged 109 census tracts across the country where cancer risks were

higher because of exposure to airborne toxins. Most of the risks were driven by EtO.

                                 Cancer Cluster – Augusta, GA

        65.     For the community surrounding the KPR sterilization facility in Augusta, NATA

lists a total cancer risk of 64-in-1 million, based on KPR’s self-reported emissions for 2014. 11

        66.     The EPA deems the cancer risk from pollution to be unacceptable when it exceeds

100 cases for every one million people who are exposed to a chemical over the course of their

lifetime.

        67.     The 2018 NATA is a model created on the assumed exposure of a facility’s self-

reported 2014 emissions. The Augusta Facility’s self-reported emissions have historically been

considerably higher than in recent years, which suggests the cancer risks surrounding KPR’s

facility are vastly understated. Moreover, prior to the 2018 NATA study, KPR retroactively



11
     https://gispub.epa.gov/NATA/
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reduced its 2014 emissions by nearly 1,000 pounds. Thus, the actual cancer risk is likely

magnitudes higher.

                                         KPR’s Operations

       68.     KPR began operations in Georgia in Augusta, Georgia in 1968.

       69.     In 1968, KPR began using, and continues to use, EtO to sterilize medical devices

in Augusta, Georgia.

       70.     KPR’s Augusta, Georgia facility has continuously used EtO since opening without

any known long-term periods of non-use. Through this process, KPR emits EtO into the air,

allowing it to disburse and be carried by wind throughout the area surrounding its facility.

       71.     Resultingly, local residents and workers have been exposed to carcinogenic EtO for

decades, all while KPR knew that EtO is dangerous, toxic, mutagenic, and carcinogenic.

       72.     Before 1987, KPR did not report or provide measurements for the amount of EtO

its sterilization facility regularly released into the atmosphere.

       73.     The EPA maintains a Toxic Release Inventory (“TRI”) which includes annual self-

reported emissions data from industrial facilities using EtO and other toxic chemicals that pose a

threat to human health and the environment.

       74.     A review of TRI data shows EtO emissions from KPR’s Augusta Facility over the

course of more than twenty years. See Figures 1-3.




(Figure 1, showing EtO emissions from the Augusta Facility between 1987 and 1998).

                                                  15
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(Figure 2, showing emissions from KPR between 1999 and 2018)

      75.     For the first time in its history, KPR self-reported emissions in 1987 and admitted

that 54,994 lbs. of EtO was released into the atmosphere that year. By 1989, KPR’s EtO emissions

surged to 110,524 lbs.




                                              16
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(Figure 3) (*On 6/29/2017, KPR retroactively reduced its 2014-15 reported EtO emissions).

      76.    From 1999 to 2008, KPR consistently emitted between approximately 6,000 and

12,500 lbs of carcinogenic EtO annually from the Augusta Facility. From 1992 to 1998, KPR




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consistently emitted between approximately 25,500 and 45,000 lbs of EtO annually. From 1987 to

1991, KPR emitted between approximately 52,000 and 110,500 lbs of EtO annually.

      77.        The data and figures appear to show that EtO emissions from the Augusta Facility

drastically decreased after 2013. However, on June 29, 2017, in response to the EPA’s December

2016 publication confirming that EtO is carcinogenic in humans via long-term inhalation exposure,

Defendant Russo of KPR retroactively revised the Augusta Facility’s 2014-2015 EtO emissions

reported to the EPA, including reducing its 201412 emissions from 1,236 to 322 pounds and its

2015 13 emissions from 1,297 to 329 pounds. In total, KPR reduced its 2014-2015 reported EtO

emissions by 1,882 pounds.

      78.        Defendants retroactively reduced KPR’s 2014-2015 reported EtO emissions for the

purpose of concealing the true nature and extent of the Augusta Facility’s EtO emissions,

misleading GA EPD and other government entities, and ensuring that the Augusta Facility did not

get flagged as causing an elevated cancer risk in the EPA’s 2018 National Air Toxics

Assessment. 14

      79.        A significant portion of KPR’s EtO emissions include fugitive emissions from

leaking valves and other equipment. Fugitive emissions occur when EtO escapes from anywhere

other than the facility’s stack and is not captured by pollution controls. These emissions are only

based on estimates due to their elusive nature. Between 1991 and 2018, KPR’s fugitive emissions




12
   https://enviro.epa.gov/enviro/tri_formr_partone_v2.get_thisone?rpt_year=2014&dcn_num=131
4215598297&ban_flag=Y (last accessed March 19, 2023).
13
   https://enviro.epa.gov/enviro/tri_formr_partone_v2.get_thisone?rpt_year=2015&dcn_num=131
5215598311&ban_flag=Y (last accessed March 19, 2023).
14
    Every three years, beginning in 1996, the U.S. EPA prepares a National Air Toxics
Assessment.
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were greater that than the controlled emissions and in 1999 they reached approximately 40x the

controlled emissions. See Figure 3.

      80.      On August 14, 2002, KPR reported that “[a] door gasket failed and caused 15.92

pounds of ethylene oxide to be vented to the atmosphere,” prompting a response from EPD’s

Emergency Response Team. 15

      81.      On October 16, 2002, Doug Bondar of KPR reported that “[t]hat personnel first had

knowledge of the release of an unknown quantity [later determined to be 45 pounds] of Ethylene

Oxide at 0800 Hours. They then took the time to calculate the amount of release and once they

determined that the amount exceeded the Rq they contacted their local Ema, The Fire Department,

Dnr and Nrc.” 16 This report prompted a response from EPD’s Emergency Response Team.

      82.      On August 7, 2004, Doug Bondar of KPR reported that 29.6 pounds of ethylene

oxide had been released into the atmosphere due to a system malfunction, prompting a response

from EPD’s Emergency Response Team. 17

      83.      On March 28, 2005, KPR reported that 35.42 pounds of ethylene oxide had leaked

into the atmosphere over a 64-hour period from a “1/4 Inch Tube Instrumentation Manual Plug

Valve,” prompting a response from EPD’s Emergency Response Team. 18

      84.      On February 26, 2006, a KPR employee reported that “there was a release of 42.9

lbs. of ethylene oxide inside the facility into the waste water stream from a reclamation tank due

to regular drainage,” prompting a response from EPD’s Emergency Response Team. 19




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   https://cts.gaepd.org/Public/ComplaintDetails/18374
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   https://cts.gaepd.org/Public/ComplaintDetails/19697
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   https://cts.gaepd.org/Public/ComplaintDetails/28390
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   https://cts.gaepd.org/Public/ComplaintDetails/31597
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   https://cts.gaepd.org/Public/ComplaintDetails/37364
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      85.      On September 18, 2006, KPR reported that 15.66 pounds of ethylene oxide had

leaked into the atmosphere after “a shaft seal failed” causing “a series of small leaks over 2 hours,”

prompting a response from EPD’s Emergency Response Team. 20

      86.      On March 22, 2007, KPR reported that 18 pounds of ethylene oxide had leaked due

to the malfunction of a gas sterilizing equipment, prompting a response from EPD’s Emergency

Response Team. 21

      87.      On October 8, 2007, KPR reported that 27.15 pounds of ethylene oxide had been

released from a recovery tank due to an unknown cause, prompting a response from EPD’s

Emergency Response Team. 22

      88.      On July 7, 2008, Doug Bondar of KPR reported that 19.5 pounds of ethylene oxide

had been released into the atmosphere due to “a leaking check valve,” prompting a response from

EPD’s Emergency Response Team. 23

      89.      On March 17, 2010, Matthew East of KPR reported that 11.58 pounds of ethylene

oxide had leaked due to a “A Slow Deteriation [sic] Of A Seal In A Sterilizing Machine,”

prompting a response from EPD’s Emergency Response Team. 24 GA EPD later determined that

the final amount of EtO released was actually 13.7 pounds.

      90.      On May 22, 2011, KPR reported a release of 15.39 pounds of ethylene oxide due a

to a “a faulty circulation fan gasket,” prompting a response from EPD’s Emergency Response

Team. 25




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   https://cts.gaepd.org/Public/ComplaintDetails/41831
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   https://cts.gaepd.org/Public/ComplaintDetails/45247
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   https://cts.gaepd.org/Public/ComplaintDetails/48970
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   https://cts.gaepd.org/Public/ComplaintDetails/53051
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   https://cts.gaepd.org/Public/ComplaintDetails/61382
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   https://cts.gaepd.org/Public/ComplaintDetails/65400
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         91.     On October 20, 2012, KPR reported that approximately 12 pounds of ethylene

oxide was released to the atmosphere due to a broken gasket on the sterilizer door, prompting a

response from EPD’s Emergency Response Team. 26

         92.     KPR’s operation of its Augusta Facility, and EtO sterilization, is regulated based

on its Air Quality Permit (“Permit”), which GA EPD issued to KPR in accordance with the

provisions of the Georgia Air Quality Act, O.C.G.A. § 12-9-1, et seq.

         93.     KPR claims it is in full compliance with laws and regulations surrounding the safe

use of EtO, that its facility has a permit for EtO emissions, and that its facility operates well below

the threshold allowed by its permit.

         94.     The Augusta Managers all personally witnessed, directed, cooperated, controlled,

and/or participated in the improper disposal and/or release of fugitive emissions of EtO from the

Augusta Facility.

         95.     Since as early as 1991, Defendant Bondar has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility.

         96.     Since as early as 2005, Defendant East has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility

         97.     Since as early as 2015, Defendant Legarda has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility.




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     https://cts.gaepd.org/Public/ComplaintDetails/69547
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      98.      Since as early as 2009, Defendant Barnes has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility.

      99.      Since as early as 2018, Defendant Johnson has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility.

      100.     Since as early as 2013, Defendant Livingston has personally witnessed, directed,

cooperated, controlled, and/or participated in the improper disposal and/or release of fugitive

emissions of EtO from the Augusta Facility.

      101.     EtO is released daily into the atmosphere from KPR’s Augusta Facility, not only

through the stack atop the Facility but also as unmonitored fugitive emissions.

      102.     The overall design of the Augusta Facility and the lack of training received by KPR

employees partially contributed to the facility’s fugitive emissions.

      103.     USEPA defines “fugitive emissions” in the regulations promulgated under Title V

of the Clean Air Act as “those emissions which could not reasonably pass through a stack,

chimney, vent, or other functionally-equivalent opening.” 40 CFR § 70.2.

      104.     Ga. Comp. R. & Regs. 391-3-1-.02(2)(a)(l) provides: “No person owning, leasing

or controlling the operation of any air contaminant sources shall willfully, negligently or through

failure to provide necessary equipment or facilities or to take necessary precautions, cause, permit,

or allow the emission from said air contamination source or sources of such quantities of air

contaminants as will cause, or tend to cause, by themselves or in conjunction with other air

contaminants a condition of air pollution in quantities or characteristics or of a duration which is

injurious or which unreasonably interferes with the enjoyment of life or use of property in such



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area of the State as is affected thereby. Complying with any of the other paragraphs of these rules

and regulations or any subparagraphs thereof, shall in no way exempt a person from this

provision.”

                                      CAUSES OF ACTION 27

          COUNT I: NEGLIGENCE (STATE STATUTORY AND COMMON LAW)
                                (All Defendants)

        105.     Principles of negligence, including the applicable duties, breach, causation and

damages for harm done are set forth under Georgia law in Title 51, Chapters 1, 2, and 12, as well

as Georgia common law.

        106.     Plaintiff was exposed to harmful levels of EtO as a proximate result of the acts and

omissions of each KPR Defendant and John Does No. 1-10, individually and collectively

(collectively referred to in Count I as “Defendant” or “Defendants”).

        107.     As a proximate result of each Defendants’ negligent acts and omissions,

individually and collectively, Plaintiff developed and was otherwise diagnosed as suffering from

cancer.

        108.     At all times relevant to this Complaint, each Defendant owed a duty to exercise

reasonable care in the operation of the Augusta Facility, including regulating the emission of EtO

and truthfully disclosing to the public the accurate levels of EtO being released into the air.

        109.     At all times relevant hereto, each Defendant knew, or should have known, of the

carcinogenic properties of EtO generally and also of that being omitted due to the work being

conducted at the Augusta Facility.




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     None of these claims involve the construction or application of federal law.
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     110.      At all times relevant hereto, each Defendant knew or should have known the

foreseeability of harm to others, like Plaintiff, if they emitted dangerous amounts of EtO into the

air via direct emissions and fugitive emissions.

     111.      Defendants breached their duty in one or more of the following ways:

            a. Emitting excessive, unnecessary, and/or dangerous volumes of EtO into the air

               from the Augusta Facility;

            b. Using EtO as part of its sterilization process when safer alternatives could

               accomplish the same or similar business purposes without presenting the same level

               of risk to human health and well-being;

            c. Disregarding safe methods to adequately control EtO emissions from the Augusta

               Facility;

            d. Failing to provide necessary equipment or facilities and/or take necessary

               precautions to prevent the improper disposal and/or release of fugitive emissions of

               EtO from the Augusta Facility;

            e. Witnessing, directing, cooperating, controlling, causing, allowing, contributing to,

               and/or participating in the improper disposal and/or release of fugitive emissions of

               EtO from the Augusta Facility;

            f. Failing to report fugitive emissions of EtO;

            g. Repeatedly allowing large quantities of EtO to be released into the surrounding

               community from the Augusta Facility due to a lack of diligence and prolonged

               operator error;

            h. Placing their own economic interest above the health and well-being of those who

               live or work in the community near the Augusta Facility;



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            i. Failing to warn or advise Plaintiff, as well as those who live or work in the

               community near the Augusta Facility, that they were and are being exposed to EtO;

            j. Failing to warn or advise Plaintiff, as well as those who live or work in the

               community near the Augusta Facility that they were and are breathing in EtO;

            k. Failing to warn and/or advise Plaintiff, as well as those who live or work in the

               community near the Augusta Facility, that it was emitting, and continues to emit, a

               known carcinogen into the air from its Augusta Facility;

            l. Failing to employ safe policies, procedures, or methods to adequately control,

               reduce, minimize, and/or mitigate EtO emissions from the Augusta Facility;

            m. Failing to adequately study and test the effect of its EtO emission from the Augusta

               Facility on the quality of air;

            n. Misleading national, state, and local government entities and the public in general

               about the nature and extent of EtO emissions from the Augusta Facility;

            o. Concealing the nature and extent of EtO emissions from the Augusta Facility from

               government entities and the public;

            p. Failing to adequately study and test the effect of its EtO emissions from the Augusta

               Facility on the health and well-being of those who live and work in the nearby

               community; and

            q. Subjecting Plaintiff and those who live and work near the Augusta Facility to an

               elevated cancer risk.

     112.      The Defendants were additionally negligent in the hiring, training, supervision, and

retention of their employees and agents, and other employees and agents who participated in the

activities of the Augusta Facility.



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      113.       Defendants’ negligent, grossly negligent, willful, wanton, and reckless conduct, as

described herein, was the proximate cause of Plaintiff’s illness and injuries, as a result of which

Plaintiff has suffered damages in the form of medical expenses, physical disability, mental and

physical pain and suffering, extreme emotional distress, and other damages as can be proven at a

trial of this action.

       114.      Plaintiff is entitled to recover damages against each Defendant for their individual

and collective acts of negligence in an amount to be proven at trial.

               COUNT II: PUBLIC NUISANCE (GEORGIA COMMON LAW)
                                  (All Defendants)

      115.       At all relevant times, the KPR Defendants (collectively referred to in Count II as

“Defendant” or “Defendants”) knew or should have known EtO to be hazardous and harmful to

humans.

      116.       At all relevant times, Defendants knew or should have known that the levels of EtO

gas emitted from the Augusta Facility would have a toxic, poisonous, and deleterious effect upon

the health, safety, and wellbeing of people living and working in the community.

      117.       Defendants knew or should have known that the levels of EtO gas emitting from

the Augusta Facility have a toxic, poisonous, and deleterious effect upon the health, safety, and

wellbeing of persons breathing it on a regular basis.

      118.       Despite having knowledge that the levels of EtO gas emitting from the Augusta

Facility would have a toxic, poisonous, and deleterious effect upon those in the surrounding

community, Defendants continued their operation, maintenance, and use of the Augusta Facility,

and Defendants still continue their operation, maintenance, and use of the Augusta Facility and

continue to endanger the general public who live and work in the area surrounding the Augusta




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Facility by causing the those in the community to breathe air containing high levels of EtO on a

routine and constant basis, causing a substantially elevated risk of cancer.

     119.      Defendants misled national, state, and local government leaders and regulators

regarding Defendants’ emissions and leaks of EtO into the surrounding community.

     120.      Defendants’ emissions of carcinogenic EtO caused direct harm to everyone in the

community who came into contact with its hazardous emissions.

     121.       Defendants had a duty to warn, identify, and disclose the presence of the toxic

levels of EtO gas emitting from the Augusta Facility and have failed to warn the public of the

toxic, poisonous, and deleterious effect upon the health, safety, and wellbeing of those in the

community where Defendants conducts their business.

     122.      The tortious actions and omissions of Defendants constitute a public nuisance,

causing dangers to all members of the public who come into contact with it, and caused special

damage to Plaintiff, including but not limited to extreme mental and emotional damage and

physical pain and suffering. Because of the tortious actions of Defendants, Plaintiff has sustained

and will continue to sustain severe and permanent damage to Plaintiff’s health due to the emission

of EtO.

     123.      Defendants thereby knowingly and/or recklessly subjected a considerable and

increasing number of individuals from the public at large to the harm inherent in exposure to the

levels of its emissions of carcinogenic EtO.

     124.      The tortious actions of Defendants constitute a public nuisance and caused special

damage to Plaintiff’s health, including but not limited to extreme mental and emotional damage

and physical pain and suffering.




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     125.      Defendants failed to act on their knowledge of the toxic levels of EtO gas emitting

from the Augusta Facility and failed to act to correct, prevent, or warn of the general public of the

dangerous environment created through Defendants’ emissions of EtO, which continuously

invaded and contaminated the areas surrounding the Augusta Facility including Plaintiff’s places

of work. Defendants’ failure to take appropriate action to remedy or reduce the danger to the

public, including Plaintiff, allowed the toxic emissions from the Augusta Facility to continue

unabated, thereby creating a nuisance that continues to this day.

     126.      As a proximate result of the Defendants’ operation, maintenance, and use of the

Augusta Facility, and the public nuisance created thereby, Plaintiff, and the general public’s, right

to breathe clean air without dangerous levels of carcinogens such as EtO was eliminated and/or

severely diminished.

     127.      As a proximate result of Defendants’ operation, maintenance, and use of the

Augusta Facility, and the public nuisance created thereby, EtO continuously invaded and

contaminated the community surrounding the Augusta Facility, including Plaintiff’s places of

work.

     128.      As a proximate result of Defendants’ use and emission of EtO, and the public

nuisance created thereby, Plaintiff and the general public were exposed to and inhaled a significant,

meaningful, and more than de minimis amount of EtO.

     129.      As a proximate result of Defendants’ use and emission of EtO, and the public

nuisance created thereby, all members of the general public who came into contact with it suffered

damages, and specifically, Plaintiff suffered special harm and sustained and will continue to

sustain special damages, including but not limited to, severe and permanent damage to Plaintiff’s

health due to the emission of EtO and Plaintiff’s exposure to it.



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      130.     As a proximate result of Plaintiff’s inhalation of EtO from the Augusta Facility,

Plaintiff has suffered damages in the form of medical expenses, physical disability, mental and

physical pain and suffering, extreme emotional distress, and other damages to be proven at trial.

                COUNT III: PUBLIC NUISANCE (O.C.G.A. § 41-1-3, et. seq.)
                                  (All Defendants)

     131.      A public nuisance is one that “tends to the immediate annoyance of the public in

general, is manifestly injurious to the public health or safety, or tends greatly to corrupt the

manners and morals of the public.” The negligence by the KPR Defendants (collectively referred

to in Count III as “Defendant” or “Defendants”) in failing to act to correct, prevent, or warn the

general public of the dangerous environment created through Defendants’ emissions of EtO,

which continuously invaded and contaminated the areas surrounding the Augusta Facility,

including Plaintiff’s places of work, was and is injurious to public health and safety and

contributes to the corruption of the manners and morals of the public, including, but not limited

to, the residents in the areas surrounding the Augusta Facility and all other members of the

general public who came near the facility..

     132.      Defendants knew or should have known that the levels of EtO gas emitting from

the Augusta Facility would have a toxic, poisonous, and deleterious effect upon the health,

safety, and wellbeing of persons breathing the gas on a regular basis.

     133.      Despite having knowledge that the levels of EtO gas emitting from the Augusta

Facility would have a toxic, poisonous, and deleterious effect upon those in the surrounding

community, Defendants continued their operation, maintenance, and use of the Augusta Facility,

and Defendants continue its operation, maintenance, and use of the Augusta Facility and

continue to endanger the general public who live and work in the area surrounding the Augusta




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Facility by causing the those in the community to breathe air containing high levels of EtO on a

routine and constant basis, causing a substantially elevated risk of cancer.

     134.      Defendants misled state and local government leaders and regulators regarding

Defendants’ emissions and leaks of EtO into the surrounding community.

     135.      Defendants’ emissions of carcinogenic EtO caused direct harm to everyone in the

community who came into contact with its hazardous emissions.

     136.      Defendants had a duty to warn, identify, and disclose the presence of the toxic

levels of EtO gas emitting from its Augusta Facility and have failed to warn the public of the

toxic, poisonous, and deleterious effect upon the health, safety, and wellbeing of those in the

community where Defendants conduct their business.

     137.      The tortious actions and omissions of Defendants constitute a public nuisance,

causing dangers to all members of the public who come into contact with it, and causing special

damage to Plaintiff, including but not limited to extreme mental and emotional damage and

physical pain and suffering. Because of the tortious actions of Defendants, Plaintiff has sustained

and will continue to sustain severe and permanent damage to Plaintiff’s health due to the

emission of EtO.

     138.      Defendants thereby knowingly and/or recklessly subjected a considerable and

increasing number of individuals from the public at large to the harm inherent in the levels of its

emissions of carcinogenic EtO.

     139.      The tortious actions of Defendants constitute a public nuisance and caused special

damage to Plaintiff’s health, including but not limited to extreme mental and emotional damage

and physical pain and suffering.




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     140.      Defendants failed to act on their knowledge of the toxic levels of EtO gas emitting

from its Augusta Facility and failed to act to correct, prevent, or warn the general public of the

dangerous environment created through Defendants’ emissions of EtO, which continuously

invaded and contaminated the areas surrounding the Augusta Facility, including Plaintiff’s places

of work. Defendants’ failure to take appropriate action to remedy or reduce the danger to the

public, including Plaintiff, allowed the toxic emissions from the Augusta Facility to continue

unabated, thereby creating a nuisance that continues to this day.

     141.      As a proximate result of the Defendants’ operation, maintenance, and use of the

Augusta Facility, and the public nuisance created thereby, Plaintiff, and the general public’s, right

to breathe clean air without dangerous levels of carcinogens such as EtO was eliminated and/or

severely diminished.

     142.      As a proximate result of Defendants’ operation, maintenance, and use of the

Augusta Facility, and the public nuisance created thereby, EtO continuously invaded and

contaminated the community surrounding the Augusta Facility, including Plaintiff’s places of

work.

     143.      As a proximate result of Defendants’ use and emission of EtO, and the public

nuisance created thereby, Plaintiff and the general public was exposed to and inhaled a significant,

meaningful, and more than de minimis amount of EtO.

     144.      As a proximate result of Defendants’ use and emission of EtO, and the public

nuisance created thereby, all members of the general public who came into contact with it suffered

damages, and specifically Plaintiff suffered special damages and sustained and will continue to

sustain special damages, including but not limited to, severe and permanent damage to Plaintiff’s

health due to the emission of EtO.



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       145.    As a proximate result of Plaintiff’s inhalation of EtO from the Augusta Facility,

Plaintiff has suffered damages in the form of medical expenses, physical disability, mental and

physical pain and suffering, extreme emotional distress, and other damages to be proven at trial.

                         COUNT IV: PRIVATE NUISANCE
                (GEORGIA COMMON LAW AND O.C.G.A. § 41-1-4, et seq)
                                (All Defendants)

       146.    The right of enjoyment of person and private property is an absolute right of every

citizen.

       147.    At all relevant times, Defendants knew or should have known that EtO is

hazardous and harmful to humans.

       148.    At all relevant times, Defendants knew or should have known that the levels of

EtO gas emitted from the Augusta Facility would have a toxic, poisonous, and deleterious effect

upon the health, safety, and wellbeing of people living and working in the community.

       149.    Defendants knew or should have known that the levels of EtO gas emitting from

the Augusta Facility would have a toxic, poisonous, and deleterious effect upon the health,

safety, and wellbeing of persons breathing it on a regular basis.

       150.    Defendants’ operation, maintenance, and use of the Augusta Facility caused those

who live and work in the area surrounding the Augusta Facility to breath air contaminated with

high levels of EtO on a routine and constant basis, causing a substantially elevated risk of cancer.

       151.    Defendant’ emissions of carcinogenic EtO interfere with Plaintiff’s enjoyment of

property and cause hurt, inconvenience, or damage to Plaintiff.

       152.    As a proximate result of the Defendants’ operation, maintenance, and use of the

Augusta Facility, Plaintiff’s right to breathe clean air without dangerous levels of carcinogens

such as EtO was eliminated and/or severely diminished.



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       153.        As a proximate result of Defendants’ operation, maintenance, and use of the

Augusta Facility, EtO continuously invaded and contaminated the areas surrounding the Augusta

Facility, including Plaintiff’s residence(s) and/or places of work.

       154.        As a proximate result of Defendants’ use and emission of EtO, Plaintiff was

exposed to and inhaled a significant, meaningful, and more than de minimis amount of EtO.

       155.        As a proximate result of Defendants’ use and emission of EtO, Plaintiff sustained

and will continue to sustain severe and permanent damage to Plaintiff’s health due to the

emission of EtO.

       156.        As a proximate result of Plaintiff’s inhalation of EtO from the Augusta Facility,

Plaintiff has suffered special damages in the form of medical expenses, physical disability,

mental and physical pain and suffering, extreme emotional distress, and other damages to be

proven at trial.

              COUNT V: ULTRAHAZARDOUS ACTIVITY/STRICT LIABILITY
                           (GEORGIA COMMON LAW)
                                 (Defendants)

      157.         Defendants’ use and emission of EtO from the Augusta Facility constitutes an

ultrahazardous activity.

      158.         Cardinal Health and KPR own and operate the Augusta Facility in which it

knowingly allowed the storage, use, and emission of dangerous levels of EtO which constitutes an

ultrahazardous activity.

      159.         Cardinal Health and KPR carried out its ultrahazardous activities by and through

the Augusta Managers.




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      160.       Defendants’ use and emission of EtO created a high degree of risk to those who

live and work in the surrounding area. Further, the likelihood of cancer caused by Defendants’ use

and emission of EtO is significantly higher than the level of acceptable risk.

      161.       Defendants’ use and emission of EtO is especially inappropriate given the densely

populated residential and commercial area in which the Augusta Facility is located.

      162.       The activities, as conducted by each and every Defendant, are exceedingly

dangerous and offer little to no value to the surrounding community.

      163.       Because Defendants’ activities are ultrahazardous, they are strictly liable for any

injuries proximately resulting therefrom.

      164.       As a proximate result of Defendants’ ultrahazardous activities, Plaintiff was

exposed to and inhaled carcinogenic amounts of EtO.

       165.      As a proximate result of Plaintiff’s inhalation of EtO from the Augusta Facility,

Plaintiff has suffered damages in the form of medical expenses, physical disability, mental and

physical pain and suffering, extreme emotional distress, and other damages as can be proven at a

trial of this action.

      COUNT VII: RESPONDEAT SUPERIOR AND/OR VICARIOUS LIABILITY
   (GEORGIA COMMON LAW AND OCGA §§ 10-6-51, 10-6-60, 51-2-1, 51-2-2, 51-2-5)
                         (Cardinal Health and KPR)

       166.      Upon information and belief, at all times pertinent to this Complaint, the Augusta

Managers were employees and/or agents of KPR and Cardinal Health.

       167.      Upon information and belief, at all times pertinent to this Complaint, the Augusta

Managers were acting within the course and scope of their employment and/or agency with KPR

Cardinal Health.




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      168.     Upon information and belief, at all times pertinent to this Complaint, the Augusta

Managers were acting in furtherance of the interests of KPR Cardinal Health.

      169.     Cardinal Health and KPR are therefore liable under the doctrines of respondeat

superior, vicarious liability and/or statutory employer liability for the tortious acts and/or

omissions of their employees and/or agents.

      170.     As a proximate cause of the acts and omissions of KPR and Cardinal Health, by

and through the Augusta Managers, Plaintiff has suffered damages in the form of medical

expenses, physical disability, mental and physical pain and suffering, extreme emotional distress,

and other damages as can be proven at a trial of this action.

     COUNT VIII: GEORGIA RICO (RACKETEER INFLUENCE AND CORRUPT
                  ORGANIZATIONS) (O.C.G.A. § 16-14-3, et seq)
                             (All Defendants)

     171.      The Georgia RICO Act prohibits any person from engaging in certain enumerated

activities through a pattern of racketeering or conspiracy.

     172.      The KPR Defendants constitute an “enterprise” under O.C.G.A. § 16-14-3(3).

Defendants’ enterprise has, and has had, for all times relevant to this Complaint, a continuity of

structure and a shared common purpose and scheme or pattern of hiding the dangerous

environment created through emissions of EtO, which continuously invaded and contaminated the

areas surrounding the Augusta Facility.

     173.      The Augusta Managers were employed by or were associated with KPR as defined

by O.C.G.A. § 16-14-4(b). For purposes of Count XIII, the Augusta Managers, KPR, and Cardinal

Health are collectively referred to as Defendant and/or Defendants.




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     174.      Defendants are jointly and severally liable to Plaintiff for this Racketeer Influenced

and Corrupt Organization (“RICO”) cause of action, and Defendants are each an agent of one

another and a co-conspirator with the other relating to the acts alleged herein.

     175.      Defendants agreed to enter into a conspiracy to violate Georgia law, including but

not limited to O.G.C.A. § 16-14-3(5)(A) and 5(B).

     176.      These offenses were part of a systematic and ongoing pattern of racketeering

activity, which Defendants participated in directly through a pattern of racketeering activities.

     177.      Through this behavior, Defendants engaged in racketeering activities as defined in

O.C.G.A. § 16-14-3(5)(B) and (5)(A) including, but not limited to, (xxii) false statements and

concealment of facts, mail fraud, and wire fraud.

     178.      Defendants’ use and emission of EtO created a high degree of risk to those who

live and work in the surrounding area. Further, the likelihood of cancer caused by Defendants’ use

and emission of EtO is significantly higher than the level of acceptable risk.

     179.       Defendants knew, or should have known, that the levels of EtO gas emitting from

the Augusta Facility would have a toxic, poisonous, and deleterious effect upon the health, safety,

and wellbeing of persons breathing it on a regular basis.

     180.      Since at least 1991, Defendant Bondar has misled government entities and the

public in general about the nature and extent of EtO emissions from the Augusta Facility by

regularly reporting that the Augusta Facility emits significantly less amounts of EtO than actually

emitted and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10

lbs to EPD.

     181.      Since at least 1991, Defendant Bondar has concealed from the public the nature and

extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta Facility



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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 38 of 100




emits significantly less amounts of EtO than actually emitted, and by consistently failing to report

EtO leaks from the Augusta Facility in excess of 10 lbs to EPD.

       182.    Since at least 2005, Defendant East has misled government entities and the public

in general about the nature and extent of EtO emissions from the Augusta Facility by regularly

reporting that the Augusta Facility emits significantly less amounts of EtO than actually emitted

and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10 lbs to

EPD.

       183.    Since at least 2005, Defendant East has concealed from the public the nature and

extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta Facility

emits significantly less amounts of EtO than actually emitted and by consistently failing to report

EtO leaks from the Augusta Facility in excess of 10 lbs to EPD.

       184.    Since at least 2015, Defendant Legarda has misled government entities and the

public in general about the nature and extent of EtO emissions from the Augusta Facility by

regularly reporting that the Augusta Facility emits significantly less amounts of EtO than actually

emitted, retroactively reducing the Augusta Facility’s 2014-2017 EtO emissions data reported to

the EPA, and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10

lbs. to EPD.

       185.    Since at least 2015, Defendant Legarda has concealed from the public the nature

and extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta

Facility emits significantly less amounts of EtO than actually emitted, retroactively reducing the

Augusta Facility’s 2014-2017 EtO emissions data reported to the EPA, and by consistently failing

to report EtO leaks from the Augusta Facility in excess of 10 lbs. to EPD.




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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 39 of 100




     186.      Since at least 2009, Defendant Barnes has misled state government entities and the

public in general about the nature and extent of EtO emissions from the Augusta Facility by

regularly reporting that the Augusta Facility emits significantly less amounts of EtO than actually

emitted and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10

lbs. to EPD.

     187.      Since at least 2009, Defendant Barnes has concealed from the public the nature and

extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta Facility

emits significantly less amounts of EtO than actually emitted and by consistently failing to report

EtO leaks from the Augusta Facility in excess of 10 lbs. to EPD.

     188.      Since at least 2018, Defendant Johnson has misled state government entities and

the public in general about the nature and extent of EtO emissions from the Augusta Facility by

regularly reporting that the Augusta Facility emits significantly less amounts of EtO than actually

emitted and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10

lbs. to EPD.

     189.      Since at least 2018, Defendant Johnson has concealed from the public the nature

and extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta

Facility emits significantly less amounts of EtO than actually emitted and by consistently failing

to report EtO leaks from the Augusta Facility in excess of 10 lbs. to EPD.

     190.      Since at least 2013, Defendant Livingston has misled state government entities and

the public in general about the nature and extent of EtO emissions from the Augusta Facility by

regularly reporting that the Augusta Facility emits significantly less amounts of EtO than actually

emitted and by consistently failing to report EtO leaks from the Augusta Facility in excess of 10

lbs. to EPD.



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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 40 of 100




     191.      Since at least 2013, Defendant Livingston has concealed from the public the nature

and extent of EtO emissions from the Augusta Facility by regularly reporting that the Augusta

Facility emits significantly less amounts of EtO than actually emitted and by consistently failing

to report EtO leaks from the Augusta Facility in excess of 10 lbs. to EPD.

     192.      On June 29, 2017, in response to the EPA’s December 2016 publication confirming

that EtO is carcinogenic in humans via long-term inhalation exposure, Defendant Bondar

retroactively reduced the Augusta Facility’s 2014-15 EtO emissions by nearly 1,000 pounds for

the purpose of (1) concealing the true nature and extent of the Augusta Facility’s EtO emissions,

and (2) ensuring that the Augusta Facility did not get flagged as causing an elevated cancer risk in

the EPA’s 2018 National Air Toxics Assessment.

     193.      The emissions data reported by Defendant Bondar intentionally failed to the

Augusta Facility’s actual emissions. In doing so, Defendant made false and/or misleading

representations regarding Defendants’ EtO emissions and normal operating procedures. In so

doing, Defendants utilized wires to cover up the true extent of the Augusta Facility’s EtO emissions

and EtO destruction efficiency.

     194.      Defendants were aware that these statements and representations were not true

and/or were misleading at the time they were made. This constitutes racketeering activity by the

Defendants which was part of a common and continuous pattern of fraudulent schemes,

perpetrated for the same or similar purposes and constituting a “pattern of racketeering activity.”

     195.      Through these racketeering activities, the Defendants deceived state and regulatory

officials as well as the general public, including Plaintiff. As a direct result of these racketeering

activities directed toward government officials and the general public, Plaintiff was exposed to

and inhaled carcinogenic amounts of EtO.



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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 41 of 100




       196.     As a proximate result of Plaintiff’s inhalation of EtO from the Augusta, Plaintiff

has suffered damages in the form of medical expenses, physical disability, mental and physical

pain and suffering, extreme emotional distress, and other damages to be proven at trial.

                 COUNT IX: PUNITIVE DAMAGES (O.C.G.A. § 51-12-5.1)
                                 (All Defendants)

       197.     At all times relevant, Defendants owed a duty to refrain from willful and wanton

misconduct and/or conduct which exhibited an indifference and/or conscious disregard to the

health, safety, and well-being of Plaintiff and those living and working in the area surrounding the

Augusta Facility.

       198.     The conduct of each Defendant as set forth hereinabove showed willful misconduct,

malice, fraud, wantonness, oppression, or that entire want of care which would raise the

presumption of a conscious indifference to consequences.

       199.     Accordingly, punitive damages should be imposed against each defendant pursuant

O.C.G.A. § 51-12-5.1 and other applicable laws to punish and deter each Defendant from repeating

or continuing such unlawful conduct, in an amount to be proven at trial.

           COUNT X: ATTORNEY’S FEES AND EXPENSES OF LITIGATION
                            (O.C.G.A. § 13-6-11)
                              (All Defendants)

       200.     Defendants’ actions constitute willful, intentional, and tortious conduct. Every

intentional tort involves an element of bad faith that entitles a person to recover the expenses of

litigation, including attorney’s fees.

       201.     The actions of Defendants and their agents and representatives have caused Plaintiff

unnecessary trouble and expense.

       202.     Plaintiff is entitled to recover attorney’s fees and the expense of litigation from the

Defendants pursuant to O.C.G.A. § 13-6-11.

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   Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 42 of 100




WHEREFORE, Plaintiff prays:

        a. That process issue according to law;

        b. That each Defendant be served with a copy of Plaintiff’s Complaint and show cause

           why the prayers for relief requested by Plaintiff herein should not be granted;

        c. That Plaintiff be granted a trial by jury in this matter;

        d. That the Court enter a judgment against each Defendant for all general and

           compensatory damages allowable to Plaintiff;

        e. That the Court enter a judgment against each Defendant for all special damages

           allowable to Plaintiff;

        f. That the Court enter a judgment against each Defendant for treble damages

           allowable to Plaintiff under Georgia RICO law;

        g. That the Court enter a judgment against each Defendant serving to award Plaintiff

           punitive damages under the provisions of O.C.G.A. § 51-12-5.1 and as otherwise

           provided by law;

        h. That the Court enter a judgment against each Defendant serving to award Plaintiff

           attorney’s fees and expenses of litigation under the provisions of O.C.G.A. § 13-6-

           11 and as otherwise provided by law;

        i. That the Court enter a judgment against each Defendant for all other relief sought

           by Plaintiff under this Complaint;

        j. That the costs of this action be cast upon Defendants; and

        k. That the Court grant Plaintiff such further relief which the Court deems just and

           appropriate.




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    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 43 of 100




      Respectfully submitted this 22nd day of March, 2023.

                                          PENN LAW LLC

                                          /s/ Darren W. Penn
                                          DARREN W. PENN
                                          Georgia Bar No. 571322
                                          darren@pennlawgroup.com
                                          WILLIAM L. BALLARD
                                          Georgia Bar No. 035625
                                          bill@pennlawgroup.com
                                          JOHN D. HADDEN
                                          Georgia Bar No.
                                          john@pennlawgrouop.com
                                          ALEXANDRA “SACHI” COLE
                                          Georgia Bar No. 696892
                                          sachi@pennlawgroup.com
                                          KEVIN M. KETNER
                                          Georgia Bar No. 418233
                                          kevin@pennlawgroup.com


4200 Northside Parkway, NW
Building One, Suite 100
Atlanta, Georgia 30327
Phone/Fax: (404) 961-7655




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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 44 of 100
                                                                        CLERK OF STATE COURT
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                                                                                              23-C-01894-S6
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                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

BARBARA BETTS,
                Plaintiff,
                                                        C.A. No. 23-C-01894-S6
v.

JAY E. JOHNSON; MARK LEGARDA;
MARTIN RUSSO; MATTHEW EAST;
DOUG BONDAR; MARK BARNES;
NANCY LIVINGSTON; KENDALL
PATIENT RECOVERY U.S., LLC;
CARDINAL HEALTH, INC. and JOHN
DOE NOS. 1-10,
                Defendants.


                                 ENTRY OF APPEARANCE

           NOW COMES Georgia L. Bennett of the law firm of Baker and Hostetler, LLP, and

 hereby enters her appearance as counsel of Defendants, Kendall Patient Recovery U.S., LLC

 and Cardinal Health, Inc. Please include her on all future communications concerning this

 matter.

                 Name:         Georgia L. Bennett
                 State Bar No: 495910
                 Address:      Baker Hostetler
                               1170 Peachtree Street | Suite 2400
                               Atlanta, GA 30309
                 Telephone:    (404) 946.9810
                 E-mail:       gbennett@bakerlaw.com

         Respectfully submitted, this 29th day of March, 2023.

                                                 /s/ Georgia L. Bennett
                                                 S. Derek Bauer
                                                 Georgia Bar No. 042537
                                                 dbauer@bakerlaw.com
                                                 Georgia L. Bennett
                                                 Georgia Bar No. 495910
                                                 gbennett@bakerlaw.com


                                                 BAKER & HOSTETLER, LLP
                                                 1170 Peachtree Street, Suite 2400
   Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 45 of 100



                                      Atlanta, Georgia 30309
                                      Telephone: 404-256-8425

                                      Matthew D. Thurlow
                                      (Pro Hac Vice Forthcoming)
                                      mthurlow@bakerlaw.com
                                      BAKER & HOSTETLER LLP
                                      1050 Connecticut Avenue NW, Suite 1100
                                      Washington, DC 20036
                                      Telephone: 202-861-1681

                                      W. Charles Ross
                                      Georgia Bar No. 615217
                                      cross@powelledwards.com
                                      POWELL & EDWARDS PC
                                      P.O. Box 1390
                                      Lawrenceville, Georgia 30046
                                      Telephone: (770) 962-0100

                                      Counsel for Defendants Kendall Patient
                                      Recovery U.S., LLC and Cardinal Health,
                                      Inc.




                         CERTIFICATE OF SERVICE

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   Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 46 of 100



          I hereby certify that on this 29th day of March, 2023, I electronically filed the foregoing

with the Clerk of Court using the Court’s electronic filing system, which will automatically

send email notification of such filing to all counsel of record.

                                                /s/ Georgia L. Bennett
                                                Georgia L. Bennett
                                                Georgia Bar No. 495910




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                                                    STATE. OF GEORGIA

    BARBARA BETTS,
             Plaintiff,
'
                                                                                      Civil Action
a                                                                                     File No.: 23-C-01894-S6
4   Vs.

    JAY E. JOHNSON; MARK LEGARDA;
    MARTIN RUSSO; MATHEW EAST; DOUG
    BONDAR; MARK BARNES, NANCY
    LIVINGSTON; KENDALL PATIENT
    RECOVERY U.S., LLC; CARDINAL HEALTH                         >
    INC., AND JOHN DOE NOS. 1-10,

             Defendant’s.



    State of Georgia
    Walton County

                                            AFFIDAVIT OF SERVICE


          Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
    James Basham a United States Citizen and over the age of 18 years after being duly sworn, deposes and
i   states that the statements set forth below are true and accurate.


                                                                    1.
             On March       25, 2023,       at approximately                   9:56     a.m.,   Jay E. Johnson,    Defendant, in
     the above referenced matter, was personally served with the Summons, Renewal Complaint for
     Damages, and General Civil and Domestic Relations Case Filing Information Form. Service
     was perfected on Jay E. Johnson, at his residence, located at 896 Starbridge Court, Evans,
     Georgia 30809.                                                            AY,
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    Sworn.to and subscribed before me                                          ef L7)
    this 29th dayjof March 2038.                            i                         ee
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                           IN THE STATE COURT OF GWINNETT octet V al                   P
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                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
                             lhe
                                                                          -
 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
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                                                      STATE OF GEORGIA


    BARBARA BETTS,

           Plaintiff,
                                                                               Civil Action
                                                                               File No.: 23-C-01894-S6
    Vs.

    JAY E. JOHNSON; MARK LEGARDA;
    MARTIN RUSSO; MATHEW EAST; DOUG
    BONDAR; MARK BARNES, NANCY
    LIVINGSTON; KENDALL PATIENT
    RECOVERY U.S., LLC; CARDINAL HEALTH,
    INC., AND JOHN DOE NOS. 1-10,
           Defendant’s.



    State of Georgia
    Walton County

                                               AFFIDAVIT OF SERVICE


           Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
    James Basham a United States Citizen and over the age of 18 years after being duly sworn, deposes and
    states that the statements set forth below are true and accurate.


                                                                   1.
            On March            25, 2023,     at approximately          9:10    a.m., Mark            Barnes, Defendant, in the
     above referenced matter, was sub-served with the Summons, Renewal Complaint for Damages,
     and General Civil and Domestic Relations Case Filing Information Form.        Service was
     perfected on Grace Barnes (white female, 40’s, 120 pounds, black hair), a person of suitable
     age who    resides        in the   residence   with   Mark    Barnes,          ervice   was     perfected   at 5328   Adams
     Chapel Road, Dearing, Georgia 30808.


    Sworn to and subscribed before me                       Le             [-)
    this 29th we          Dona2023.       uect               Affiant,¢ jhmes/basham

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                           IN THE STATE COURT OF GWINNETT octet V al                   P
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                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
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 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
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                                                STATEOF GEORGIA


    BARBARA BETTS,                                           |
                                                             |
              Plaintiff,                                     |
                                                             |       Civil Action
                                                             |       File No,; 23-C-01894-S6
    Vs.                                                      |
    JAY E. JOHNSON; MARK LEGARDA;:                           |
    MARTIN RUSSO; MATHEW EAST; DOUG                           |
    BONDAR; MARK BARNES, NANCY                                |
    LIVINGSTON; KENDALL PATIENT                               |
    RECOVERY U.S., LLC; CARDINAL HEALTH,                      |
    INC., AND JOHN DOE NOS. 1-10,                             |
                                                              |
              Defendant’s.                                       |
                                                                 |
    State of Georgia
    Walton County

a                                         AFFIDAVIT OF SERVICE


              Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
    James     Basham a United States Citizen and over the age of 18 years after being duly sworn, deposes and
    states that the statements set forth below are true and accurate.


                                                            1.
              On March 25, 2023, at approximately 10:15 a.m., Mark Legarda, Defendant, in the above referenced
    matter, was sub-served the within Summons, Renewal Complaint for Damages, and General Civil and
    Domestic Relations Case Filing Information Form. Service was perfected at 4112 Fox Brush Drive, Evans,
    Georgia 30809.
                                                            2.

              At the time of service, a Hispanic female, approximately 50 years of age, 5° 5”, 140 pounds, and
    black hair answered the door to the residence. When I asked for Mark Legarda, the female stated that she
    did not know Mark Legarda, and that Mark Legarda did not reside in the residence. I then asked the female
    for her name at which time she told me that she was not going to give me her name. I informed her that I
    know that Mr. Mark Legarda owns the residence and that the vehicles parked in the driveway are registered
    to Mark and Leticia Legarda. The female then told me that she owned the vehicles and did not know Mr.
    Legarda. The female refused to accept the service documents at which time the documents were dropped
    served at the front door of the residence in the presence of the female and she was notified that she was
    served.
      Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 52 of 100


Affidavit of Service
Barbara Betts vs. Mark Legarda, et al.
State Court, Gwinnett County, Georgia
Civil Action No.: 23-C-01894-S6


                                                       3.
          Columbia County, Georgia property and tax records reflect the residence at 4112 Fox Brush Drive,
Evans, Columbia County, Georgia 30809 is owned by Mark A. Legarda and Leticia M. Legarda, and the
property has Homestead Exemption. Two (2) vehicles parked in the driveway at the time were also
registered to Mark Legarda and Leticia Legarda at 4112 Fox Brush Drive, Evans, Georgia 30809. Additional
investigation further indicated that Mark A. Legarda and Leticia Legarda to be husband and wife.



Sworn to and subscribed before me
this 29th da    of March a
      ’        ANNUAL               4
NOTARY PUBLIC
My commission expires on 11/21/25
 Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 53 of 100




                           IN THE STATE COURT OF GWINNETT octet V al                   P
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                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
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 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
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                                                                                                                           3/30/2023 2:07
                                                                                                                          3/30/2023     2:07 PM
                                                                                                                                              PM
                                                                                                                        TIANA P.
                                                                                                                        TIANA  P. GARNER,
                                                                                                                                  GARNER, CLERK
                                                                                                                                           CLERK
                                            IN THE STATE COURT OF GWINNETT COUNTY

                                                            STATE OF GEORGIA

     Barbara Betts,

                          Plaintiff,                                :                   CIVIL ACTION

     Vs.                                                            :                   NUMBER 23-C-01894-S6

     Cardinal Health, Inc.,

                          Defendant.

                                                           AFFIDAVIT OF SERVICE

             PERSONALLY appeared before me, the undersigned officer duly authorized by law to administer

     oaths in the State of Ohio, Jim Silvania, who after being duly sworn, deposes and states as follows:
                                                                  fest




             | hereby certify | am a citizen of the United States, over the age of 18 years, and | am not a party
     to this action or related by blood or marriage to any of the parties.                 | have no interest in the outcome of
     this matter. Pursuant to the Ohio Civil Statues, | am qualified to serve Legal Process.




             On Monday, March 27, 2023, at approximately 11:30 a.m., | personally served Cardinal Health,

     inc. of Dublin, Ohio with the Summons,              General civil and domestic relations case filing information form,

     and Renewal complaint for damages by delivering same to CT Corporation System, the registered agent

     for Cardinal Health, Inc., at 4400 Easton Commons Way, Suite 125, Columbus, Ohio 43278.


             FURTHER AFFIANT SAYETH               NOT.

             This ; .g™          day of March, 2023.              WA                    Sh
                                                                              ∣ (ant                   en               £1.5.)
                                                                         M SILVANIA, Affiant
                                                                  ee           Agent for Service of Process
     Sworn to gad subscribed before me on
     This       day of Mi fch, 2023.



ana         Public
<.   My commission expires: ein
                            _/                      / ay    ee of

            ysultltagy,




                                   JONATHAN M MOORE
                                 Notary Public, State of Ohio
                                 y Comm. Expires 08-01-202
                                                              4
                                                                                                                                           E-FILED IN OFFICE - EP
               Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 55 of 100
                                                                                CLERK OF STATE COURT
                                                                                                                              GWINNETT COUNTY, GEORGIA
                                                                                                                                               23-C-01894-S6
                                                              AFFIDAVIT OF SERVICE                                                         3/31/2023 2:39 PM
                                                                                                                                    TIANA P. GARNER, CLERK

  Case:               Court:                                                County:                    Job:
  23-C                INTHE STATE COURT OF GWINNETT COUNTY, STATE           GWINNETT, GA               8612836 (BETTSVRUSSO)
  01894-S6             OF GEORGIA
   Plaintiff/Petitioner:                                                    Defendant / Respondent:
  Barbara Betts                                                             Martin Russo
  Received by:                                                              For:
  Michael R. Meyer                                                          Dial Services, Inc.
  To be served upon:
  Martin Russo

 |, Michael R. Meyer, being duly sworn, depose and say: Iam over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected. Iwas authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/ Address: Martin Russo, 113 SUGARBERRY DRIVE, JUPITER, FL 33458-7143
Manner of Service:       Personal/lndividual, Mar 28, 2023, 8:54 am EDT
Documents:                          Summons, General Civil and Domestic Relations Case Filing Information, Renewal Complaint for Damages
                                    (Received Mar 24, 2023 at 5:56pm EDT)

Additional Comments:
1) Successful Attempt: Mar 28, 2023, 8:54 am EDT at 113 SUGARBERRY DRIVE, JUPITER, FL 33458-7143 received by Martin Russo. Age: 55-65:
Ethnicity: Tan Complexion; Gender: Male; Weight: 185; Height: 62"; Hair: Gray; Other: Wearing glasses, mostly bald, curly hair, left premises
in abronze Lexus RX350 after service. Basef upon inquiry the defendant is unmarried and not in the service of the United States Military. :


Under penalties of perjury, Iswear or affirm that, pursuant to Fla. Stat. 92.525 that I have read the foregoing and the facts stated there are
true. Iam over the age of 18, Ihave no interest in the above action, andam aCertified Process Server in good standing in the county in
which service was made.


                                                                             STATE OF FLORIDA

                                                                             COUNTY OF PALM BEACH
                                                                             Sworn to (or affirmed) and subscribe before me by means of
Michael RMeyer                                   Date
                                                                               Xphysical presence orJonline notarization, this
15th Gfcuit of Florida CPS#2016 | 17th                                       30day of MARCH, 2023,     Michael R. Meyer.
 Circut of Eloida SPs #1460
Dial Services, Inc.
367 Atherns Highway Suite 1000, Judah Crossing                                 Notary ublic)StategffHorida
Loganville, GA 30052

                                                                             Print, Type or Stamp Commissioned Name of Notary Public
                                                                             Personally Known XOR Produced ldentification
                                                                             Type of ldentification produced:




                                                                                                              DANIELLE MYRTER
                                                                                                         Notary Public, State Of Florida
                                                                                                          Commission No. HH 235449
                                                                                                       My Commission Expires: 3/3/2026
                                                                                                E-FILED IN OFFICE - EP
      Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 56 of 100
                                                                         CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    23-C-01894-S6
                                                                                                3/29/2023 5:22 PM
                                                                                             TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

 BARBARA BETTS,
                 Plaintiff,
                                                            C.A. No. 23-C-01894-S6
 v.

 JAY E. JOHNSON; MARK LEGARDA;
 MARTIN RUSSO; MATTHEW EAST;
 DOUG BONDAR; MARK BARNES;
 NANCY LIVINGSTON; KENDALL
 PATIENT RECOVERY U.S., LLC;
 CARDINAL HEALTH, INC. and JOHN
 DOE NOS. 1-10,
                 Defendants.


                 LIMITED APPEARANCE NOTICE OF RELATED CASES
        Defendants Kendall Patient Recovery U.S., LLC and Cardinal Health, Inc. (“Defendants”),

while preserving all defenses, affirmative or otherwise, pursuant to Uniform State Court Rules 3.2

and 4.8, file this Notice of Related Cases.

        Pursuant to Rule 3.2, “[w]hen practical, all actions involving substantially the same parties,

or substantially the same subject matter, or substantially the same factual issues, whether pending

simultaneously or not, shall be assigned to the same judge.” Rule 4.8 similarly provides that

counsel should notify the court of related actions “pending in and assigned to a particular judge of

a superior court in the same circuit involving some or all of the same subject matter, or some or

all of the same factual issues.” The court will then make a determination “as to which judge the

action or actions should be assigned.” Ga. Unif. St. Ct. R. 4.8.

        On March 22, 2023, Plaintiff Barbara Betts (“Plaintiff”) filed a Renewal Complaint for

Damages. That same day, fifteen other individuals filed suit in the State Court of Gwinnett County,

naming the nine listed defendants and John Does 1-10 and each asserting that they were injured
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 57 of 100




due to exposure to ethylene oxide, a chemical used to sterilize medical equipment. The complaints

contain nearly identical allegations. Each plaintiff brings claims for negligence, public nuisance,

private nuisance, ultrahazardous activity/strict liability, respondeat superior/vicarious liability,

Georgia RICO, punitive damages and attorneys’ fees. The suits therefore involve substantially the

same parties, subject matter, and factual issues. To date, the following are the sixteen related cases

pending in this Court in order of filing.

  No.                Case                   Civil Action Number           Judge Assigned
   1.     Lambert v. Johnson et al.         23-C-01893-S5           Hon. Erica K. Dove

     2.   Betts v. Johnson et al.           23-C-01894-S6           Hon. Veronica Cope

     3.   Bell v. Johnson et al.            23-C-01896-S1           Hon. Emily J. Brantley

     4.   Browman v. Johnson et al.         23-C-01897-S2           Hon. Shawn F. Bratton

     5.   Holmes v. Johnson et al.          23-C-01898-S3           Hon. Carla Brown

     6.   Coleman v. Johnson et al.         23-C-01899-S4           Hon. Ronda S. Colvin

     7.   Jones v. Johnson et al.           23-C-01900-S5           Hon. Erica K. Dove

     8.   Snow v. Johnson et al.            23-C-01901-S6           Hon. Veronica Cope

     9.   Dunn v. Johnson et al.            23-C-01910-S5           Hon. Erica K. Dove

     10. Pugh v. Johnson et al.             23-C-01911-S6           Hon. Veronica Cope

     11. Williams v. Johnson et al.         23-C-01912-S7           Hon. Jaletta L. Smith

     12. Washington v. Johnson et al. 23-C-01913-S1                 Hon. Emily J. Brantley

     13. Taylor v. Johnson et al.           23-C-01914-S2           Hon. Shawn F. Bratton

     14. Presnell v. Johnson et al.         23-C-01916-S4           Hon. Ronda S. Colvin

     15. Smith v. Johnson et al.            23-C-01917-S5           Hon. Erica K. Dove

     16. Knight v. Johnson et al.           23-C-01918-S6           Hon. Veronica Cope



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    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 58 of 100




       Pursuant to Rules 3.2 and 4.8, Defendants respectfully request that these cases be assigned

to the same judge.

       Respectfully submitted, this 29th day of March, 2023.

                                                    /s/ W. Charles Ross
                                                    W. Charles Ross
                                                    Georgia Bar No. 615217
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                                                    P.O. Box 1390
                                                    Lawrenceville, Georgia 30046
                                                    Telephone: (770) 962-0100

                                                    S. Derek Bauer
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                                                    Georgia L. Bennett
                                                    Georgia Bar No. 495910
                                                    gbennett@bakerlaw.com
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                                                    Atlanta, Georgia 30309
                                                    Telephone: 404-256-8425

                                                    Matthew D. Thurlow
                                                    (Pro Hac Vice Forthcoming)
                                                    mthurlow@bakerlaw.com
                                                    BAKER & HOSTETLER LLP
                                                    1050 Connecticut Avenue NW, Suite 1100
                                                    Washington, DC 20036
                                                    Telephone: 202-861-1681

                                                    Counsel for Defendants Kendall Patient
                                                    Recovery U.S., LLC and Cardinal Health,
                                                    Inc.




                                                3
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 59 of 100




                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 29th day of March, 2023, I electronically filed the foregoing

with the Clerk of Court using the Court’s electronic filing system, which will automatically send

email notification of such filing to all counsel of record.

                                                       /s/ W. Charles Ross
                                                       W. CHARLES ROSS
                                                       Georgia Bar No. 615217




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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 60 of 100
                                                                        CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                        23-C-01894-S6
                                                                                                     4/6/2023 9:39 AM
                                                                                              TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

BARBARA BETTS,                         )
                                       )
     Plaintiff,                        )
                                       )
v.                                     )                       Civil Action No.
                                       )
KENDALL PATIENT RECOVERY U.S., LLC;    )                       23-C-01894-S6
CARDINAL HEALTH, INC.; JAY E. JOHNSON; )
MARK LEGARDA; MARTIN RUSSO;            )
MATTHEW EAST; DOUG BONDAR;             )
MARK BARNES; NANCY LIVINGSTON,         )
JOHN DOE NOS. 1-10; AND                )
ABC CORPORATION NOS. 1-10,             )
                                       )
     Defendants.                       )

       PLAINTIFF’S BRIEF REGARDING ASSIGNMENT OF RELATED CASES

       Plaintiff Barbara Betts, along with 15 others, filed suit against the above-listed defendants

for claims arising from exposure to ethylene oxide (EtO), a highly toxic carcinogen, emitted

from a medical equipment sterilization plant in Augusta, Georgia. As Defendants have correctly

notified the Court, these cases are related and should be assigned to a single judge. Plaintiff

acknowledges that the decision of assignment of these cases is in the discretion of the judges, but

submits this brief to apprise the judges of the distinct issues involved that, Plaintiff contends,

weigh in favor of assigning these cases to Judge Emily Brantley. To Plaintiff’s counsel’s

knowledge, Judge Brantley is presiding over all other EtO personal injury cases filed in Gwinnett

County and is well versed in the nuances and distinct issues involved in this subject matter. 1




1
 Should Judge Brantley not wish to take these cases, Plaintiff has no objection to the cases being
assigned to Judge Dove consistent with Defendants’ request.

                                                 -1-
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                                   Other pending similar cases

       The undersigned law firm has 205 cases pending against Becton Dickinson and C.R.

Bard for injuries resulting from chronic exposure to EtO released into the residential

communities surrounding their Covington, Georgia facility. Several other firms have collectively

filed approximately 100 cases on behalf of other plaintiffs who similarly allege injuries resulting

from the Covington facility’s toxic emissions. Moreover, at least one suit has been filed in

Gwinnett State Court against Sterigenics US LLC for injuries resulting from EtO released from

its Smyrna, Georgia sterilization plant. All of these cases are pending before Judge Brantley.

                                 Factors relevant to assignment

       In their brief, Defendants downplay the significance of the common causative factor in

the similar cases pending before Judge Brantley: chronic EtO exposure. While routine discovery

and evidentiary efforts will touch on facility-specific matters, such as policies and procedures,

uniform causation issues centering on EtO exposure will predominate this litigation.

       EtO cases are not typical. These toxic tort actions involve novel, distinct issues of

science, causation, and proof. To counsel’s knowledge, only two EtO cases have proceeded to

trial, both in Illinois. Among other things, these highly technical cases will have significant

overlap in terms of experts, especially on general and specific causation. 2 Judge Brantley has

already created a discovery/case management framework for these related matters, including

entering an electronically stored information (ESI) protocol. Building these cases on this existing

foundation promotes judicial economy and efficiency. In the 300+ cases Plaintiff’s counsel are



2
  Indeed, given the novelty and similarity of the issues involved in these cases and the other
ethylene oxide cases already pending in this venue, it may have been appropriate to designate
these as related cases at the time of filing.

                                                -2-
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aware of, four have been specially set for trial, with the first set for this fall (the Sterigenics

case), and three more next year (Becton Dickinson/C.R. Bard cases).

        Finally, Plaintiff vehemently disputes any claim that Plaintiff suggesting assignment to

Judge Brantley, one of the first three judges assigned to these cases, constitutes any form of

“judge shopping.” Plaintiff (and his counsel) are satisfied that any member of the Gwinnett

bench could appropriately handle these cases, and Plaintiff’s counsel did not select Judge

Brantley to preside over the cases involving Becton Dickinson and C.R. Bard; rather, they were

assigned by the Court. 3 But given Judge Brantley’s specific familiarity with the nuances and

unique issues involved in these cases, Plaintiff believes judicial economy and efficiency

considerations weigh in favor of her assignment.

                                              Conclusion

        Should Judge Brantley agree to accept the related cases, Plaintiff requests that they be

transferred to her/Division S1. If she does not, then Plaintiff agrees to transfer the cases to Judge

Dove/Division S5.

        Respectfully submitted this 6th day of April, 2023.

                                                PENN LAW LLC

                                                /s/ Darren W. Penn
                                                DARREN W. PENN
                                                Georgia Bar No. 571322
                                                darren@pennlawgroup.com




3
  When Plaintiff’s counsel filed their initial cases against Becton Dickinson and C.R. Bard, each
were assigned to different judges, similar to what happened here. After the Judges and Clerk's
Office discussed the matter internally, the cases were all assigned to Judge Brantley. This is
reflected in Section XII of the State Court Case Management Order titled, “Becton, Dickinson,
and Company Case Assignments,” entered on September 1, 2021.

                                                  -3-
    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 63 of 100




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Phone/Fax: (404) 961-7655




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    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 64 of 100




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served all parties to this matter with a copy of the

foregoing PLAINTIFF’S BRIEF REGARDING ASSIGNMENT OF RELATED CASES

via Odyssey/EFileGA electronic filing system which serves all parties of record, addressed as

follows:

       W. Charles Ross
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       P.O. Box 1390
       Lawrenceville, Georgia 30046
       cross@powelledwards.com
       Attorney for Kendall Patient Recovery US, LLC and Cardinal Health, Inc.

       S. Derek Bauer
       Georgia L. Bennett
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       1170 Peachtree Street
       Suite 2400
       Atlanta, Georgia 30309
       dbauer@bakerlaw.com
       gbennett@bakerlaw.com
       Attorneys for Kendall Patient Recovery US, LLC and Cardinal Health, Inc.

       Respectfully submitted this 6th day of April, 2023.

                                               PENN LAW LLC

                                               /s/ Darren W. Penn
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                                                 -5-
    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 65 of 100




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       Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 66 of 100
                                                                          CLERK OF STATE COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                               23-C-01894-S6
                                                                                            4/3/2023 9:13 PM
                                                                                         TIANA P. GARNER, CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

 BARBARA BETTS,
                   Plaintiff,
                                                          C.A. No. 23-C-01894-S6
 v.

 JAY E. JOHNSON; MARK LEGARDA;
 MARTIN RUSSO; MATTHEW EAST;
 DOUG BONDAR; MARK BARNES;
 NANCY LIVINGSTON; KENDALL
 PATIENT RECOVERY U.S., LLC;
 CARDINAL HEALTH, INC. and JOHN
 DOE NOS. 1-10,
                   Defendants.


           DEFENDANTS’ MOTION IN SUPPORT OF NOTICE OF RELATED CASES
           Defendants Kendall Patient Recovery U.S., LLC (“KPR”), Cardinal Health, Inc., Mark

Legarda, Martin Russo, Matthew East, Doug Bondar, Mark Barnes, Nancy Livingston, and Jay

Johnson (“Defendants”), while preserving all defenses, affirmative or otherwise, pursuant to

Uniform Superior Court Rule 3.2, file, or consent to the filing of, this Motion in Support of the

Notice of Related Cases. Time is of the essence in bringing this Motion because Defendants’

procedural and substantive deadlines for responding to all of the sixteen (16) related complaints

(hereinafter “KPR cases”) are pending. In accordance with the Uniform Superior Court Rules, the

KPR cases should be transferred to Division S5 because that is the Court the first KPR complaint

was assigned to and has the lowest docket number.

      I.      BACKGROUND

           Plaintiff Barbara Betts (“Plaintiff”) filed her Renewal Complaint for Damages on March

22, 2023. On March 29, 2023, Defendants KPR and Cardinal Health, Inc. filed a Limited

Appearance Notice of Related Cases, pursuant to Uniform Rules 3.2 and 4.8, in this and fifteen
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 67 of 100




other related actions. To date, the following are the sixteen related KPR cases pending in this

Court in order of filing, the Lambert case being the first-filed overall.

  No.                  Case               Civil Action Number              Judge Assigned
   1.       Lambert v. Johnson et al.     23-C-01893-S5              Hon. Erica K. Dove

     2.     Betts v. Johnson et al.       23-C-01894-S6              Hon. Veronica Cope

     3.     Bell v. Johnson et al.        23-C-01896-S1              Hon. Emily J. Brantley

     4.     Browman v. Johnson et al.     23-C-01897-S2              Hon. Shawn F. Bratton

     5.     Holmes v. Johnson et al.      23-C-01898-S3              Hon. Carla Brown

     6.     Coleman v. Johnson et al.     23-C-01899-S4              Hon. Ronda S. Colvin

     7.     Jones v. Johnson et al.       23-C-01900-S5              Hon. Erica K. Dove

     8.     Snow v. Johnson et al.        23-C-01901-S6              Hon. Veronica Cope

     9.     Dunn v. Johnson et al.        23-C-01910-S5              Hon. Erica K. Dove

     10. Pugh v. Johnson et al.           23-C-01911-S6              Hon. Veronica Cope

     11. Williams v. Johnson et al.       23-C-01912-S7              Hon. Jaletta L. Smith

     12. Washington v. Johnson et al. 23-C-01913-S1                  Hon. Emily J. Brantley

     13. Taylor v. Johnson et al.         23-C-01914-S2              Hon. Shawn F. Bratton

     14. Presnell v. Johnson et al.       23-C-01916-S4              Hon. Ronda S. Colvin

     15. Smith v. Johnson et al.          23-C-01917-S5              Hon. Erica K. Dove

     16. Knight v. Johnson et al.         23-C-01918-S6              Hon. Veronica Cope


          Each KPR complaint names the nine listed defendants and John Does 1-10. Each plaintiff

asserts that they were injured due to exposure to ethylene oxide (“hereinafter “EtO”), a chemical

used by KPR to sterilize medical equipment in Augusta, Georgia. The complaints contain nearly

identical allegations.    Each plaintiff brings claims for negligence, public nuisance, private


                                                  2
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 68 of 100




nuisance, ultrahazardous activity/strict liability, respondeat superior/vicarious liability, Georgia

RICO, punitive damages, and attorneys’ fees. In short, the KPR cases involve substantially the

same issues and parties.

    II.       LEGAL AUTHORITY

           Uniform Superior Court Rule 3.2 provides that “[w]hen practical, all actions involving

substantially the same factual issues, whether pending simultaneously or not, shall be assigned to

the same judge…Generally, such actions will be assigned to the judge to whom the action with the

lower action number is assigned.”


    III.      ARGUMENT AND CITATION TO AUTHORITIES

           As discussed further below, following Rule 3.2, Defendants believe that all of the KPR

cases should be transferred to Division S5 because that is the initial Court assignment and lowest

docket number for the KPR cases.

           The KPR cases should be immediately transferred to Division S5 because sixteen different

plaintiffs are currently pursuing the same legal theories on nearly identical facts in sixteen

separates cases before eight different Gwinnett County State Court judges. Each of the eight

different judges assigned to the KPR cases could impose different schedules, interpret the law and

facts slightly differently, and rule differently on procedural, discovery, and substantive motions.

Transfer to Division S5 is therefore needed as soon as possible to ensure consistent and fair

treatment of Defendants. In addition, it is burdensome and unnecessary for Defendants to respond

piecemeal to sixteen individual lawsuits that all involve common questions. Defendants should

not be required to duplicate their litigation efforts sixteen times in order to fulfill substantially the

same obligations to the Court. Litigation of sixteen separate cases also needlessly adds substantial

administrative and litigation costs for individual and corporate defendants.


                                                   3
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 69 of 100




        Out of an abundance of caution, Defendants believe it is important to address an issue

raised by plaintiffs’ counsel in an email communication with the Clerk of Court subsequent to the

Defendants’ filing of its Limited Appearance Notice of Related Cases. In the email, plaintiffs’

counsel noted that Judge Brantley is currently assigned to cases against BD Bard for a release of

EtO in Covington, Georgia and another case against Sterigenics, for a release of EtO in Smyrna,

Georgia. (Exhibit 1.) While plaintiffs’ counsel did not request the KPR cases to be transferred to

Judge Brantley, it should also be noted that other than the KPR cases involving the alleged release

of EtO, there is nothing similar in the cases that would require any deviation from the rule that the

case should be assigned to the Court where the first cases or the case with lowest docket number

was assigned. The KPR cases involve a single medical sterilization facility in Richmond County,

Georgia, and have little in common with other EtO cases pending in Gwinnett County, which

involve completely different parties, different facilities, and different factual allegations (including

different alleged exposures to EtO).

        Judicial assignments are straightforward under the Uniform Superior Court Rules. Rule

3.2 provides that “[w]hen practical, all actions involving substantially the same parties, or

substantially the same subject matter, or substantially the same factual issues…shall be assigned

to the same judge.”      Rule 3.2 also provides that selecting the judge for related cases is

uncontroversial: “the judge to whom the original action…is assigned. Generally…the judge to

whom the action with the lower action number is assigned.” This makes sense, as the “assignment

system is designed to prevent any persons choosing the judge to whom an action is to be assigned.”

Ga. Unif. Super. Ct. R. 3.1. If there was room for substantive argument between the parties as to

who should hear related cases, the parties could put a thumb on the scale in choosing the judge.

Instead, the Rules provide for a straightforward, easily applied procedural assignment mechanism.




                                                   4
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 70 of 100




Creating such a streamlined assignment system is common in courts. See, e.g., Stewart v. O’Neill,

225 F. Supp. 2d 16, 18 (D.D.C. 2002) (noting its Local Civil Rule assigns motions to consolidate

to the “judge to whom the earliest-numbered case is assigned”). Accordingly, these cases should

be heard by the judge with the lowest action number. In this case, that is Honorable Erika K. Dove.

   IV.      CONCLUSION

         For the foregoing reasons, pursuant Uniform Rule 3.2, Defendants respectfully request that

these aforementioned cases be assigned to Division S5.

         Respectfully submitted, this 3rd day of April, 2023.

                                                     /s/ Georgia L. Bennett
                                                     W. Charles Ross
                                                     Georgia Bar No. 615217
                                                     cross@powelledwards.com
                                                     POWELL & EDWARDS PC
                                                     P.O. Box 1390
                                                     Lawrenceville, Georgia 30046
                                                     Telephone: (770) 962-0100

                                                     S. Derek Bauer
                                                     Georgia Bar No. 042537
                                                     dbauer@bakerlaw.com
                                                     Georgia L. Bennett
                                                     Georgia Bar No. 495910
                                                     gbennett@bakerlaw.com
                                                     BAKER & HOSTETLER, LLP
                                                     1170 Peachtree Street, Suite 2400
                                                     Atlanta, Georgia 30309
                                                     Telephone: 404-256-8425

                                                     Matthew D. Thurlow
                                                     (Pro Hac Vice Forthcoming)
                                                     mthurlow@bakerlaw.com
                                                     BAKER & HOSTETLER LLP
                                                     1050 Connecticut Avenue NW, Suite 1100
                                                     Washington, DC 20036
                                                     Telephone: 202-861-1681

                                                     Counsel for Defendants Kendall Patient
                                                     Recovery U.S., LLC, Cardinal Health, Inc.,



                                                 5
Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 71 of 100




                                     Mark Legarda,
                                     Mark Legarda, Martin
                                                   Martin Russo,
                                                          Russo, Mark
                                                                 Mark Barnes,
                                                                      Barnes,
                                     Nancy Livingston,
                                     Nancy Livingston, and John Doe
                                                       and John Doe Nos.
                                                                    Nos. 1-10




                                 6
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 72 of 100




                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 3rd day of April, 2023, I electronically filed the foregoing with

the Clerk of Court using the Court’s electronic filing system, which will automatically send email

notification of such filing to all counsel of record.

                                                        /s/ Georgia L. Bennett                 ____
                                                        Georgia L. Bennett
                                                        Georgia Bar No. 495910




                                                   7
Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 73 of 100




                   EXHIBIT
                   EXHIBIT 11
              Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 74 of 100


Bennett, Georgia       L.

From:                                 Garner, Tiana <Tiana.Garner@gwinnettcounty.com>
Sent:                                 Friday, March 31, 2023 11:27 AM
To:                                   ‘Darren Penn’; ‘Chuck Ross’
Ce:                                   Bauer, S. Derek; Bennett, Georgia L.,; ‘Bill Ballard’; ‘John Hadden’; ‘Sachi Cole’; ‘Kevin
                                      Ketner'
Subject:                              RE: Notice of Related Cases


[External Email: Use caution when clicking on links or opening attachments. ]


Mr. Ross and Mr. Penn,


I’ve checked with my staff and when these cases were filed initially, the clerk was not notified of any other related
actions so the cases were assigned pursuant to the standing order for assignment of cases. At this point, in order for
these cases to be transferred to a particular division, we will require a transfer order. Since Mr. Ross filed a Notice of
Related Action in all 16 cases, the clerk’s office will await further direction from the court, if any. Thank you.



                            Tiana P. Garner, Esq. | Clerk of Court
                            770.822.8124

                            Clerk of Court Tiana P. Garner
                            75 Langley Drive
                            Lawrenceville, GA 30046
        Gwinnett
  CLERK OF COURT

Online Court Docket: www.gwinnettcourts.com


eRecording of real estate documents is available through hitps://efile.gsccca.org.

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From: Darren Penn <darren@pennlawgroup.com>
Sent: Wednesday, March 29, 2023 10:49 PM
To: Chuck Ross <cross@powelledwards.com>; Garner, Tiana <Tiana.Garner@gwinnettcounty.com>
Cc: S. Derek Bauer - BakerHostetler (dbauer@bakerlaw.com) <dbauer@bakerlaw.com>; Bennett, Georgia L.

                                                                    1
               Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 75 of 100

<gbennett@bakerlaw.com>; Bill Ballard <bill@pennlawgroup.com>; John Hadden <john@pennlawgroup.com>; Sachi
Cole <sachi@pennlawgroup.com>; Kevin Ketner <Kevin@pennlawgroup.com>
Subject: Re: Notice of Related Cases



CAUTION: This email originated from outside of Gwinnett County Government. Maintain caution when opening links, attachments,
                             or responding. When in doubt, contact phishing@gwinnettcounty.com.
Ms. Garner,

I’m not sure how all the case assignment rules work, but | will point out that Judge Emily Brantley is the judge on over
300 cases involving the release of ethylene oxide in Covington by BD Bard and other defendants and is also the judge in
a Sterigenics case involving the release of ethylene oxide in Smyrna Georgia. These cases against KPR and other
defendants also deal with the release of ethylene oxide.

Darren W. Penn




           i

PENN LAW LLC

4200 Northside Parkway, NW
Building One, Suite 100
Atlanta, Georgia 30327

(404) 961-7655    Telephone/Fax

www.pennlawgroup.com

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use, distribution or disclosure by others is strictly prohibited. If you are not the intended recipient (or authorized to receive for
the recipient), please contact the sender by reply email and delete all copies of this message.



From: Chuck Ross <cross@powelledwards.com>
Date: Wednesday, March 29, 2023 at 6:08 PM
To: tiana.garner@gwinnettcounty.com             <tiana.garner@gwinnettcounty.com>
Cc: S. Derek Bauer - BakerHostetler (dbauer@bakerlaw.com) <dbauer@bakerlaw.com>, Bennett, Georgia L.
<gbennett@bakerlaw.com>, Darren Penn <darren@pennlawgroup.com>, Bill Ballard
<bill@pennlawgroup.com>, John Hadden <john@pennlawgroup.com>, Sachi Cole
<sachi@pennlawgroup.com>, Kevin Ketner <Kevin@pennlawgroup.com>
Subject: Notice of Related Cases

Ms. Garner,


Attached, please find courtesy copies of sixteen (16) Notices of Related Cases that | have filed this date. Please let me
know if you have any difficulty opening the zipped folder.
                   Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 76 of 100


Thank you.

Chuck Ross


W. Charles “Chuck” Ross, Partner
Phone: (770) 962-0100 | Fax: (770) 963-3424
Post Office Box 1390, Lawrenceville, GA 30046
www.PowellEdwards.com




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                    =e                         AFTORNEWS                    &

Voted Best of Gwinnett, 2016, 2017, 2018, 2019, 2020, 2021, 2022
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       Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 77 ofCLERK OF STATE
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                                  IN THE STATE COURT OF GWINNETT COUNTY                                                               TIANA P.
                                                                                                                                      TIANA P. GARNER,
                                                                                                                                               GARNER, CLERK
                                                                                                                                                       CLERK
                                              STATE OF GEORGIA


 BARBARA          BETTS,                                                          |
                                                                                 |
             Plaintiff,
                                                                                 |
                                                                                |                        Civil Action
 Vs.
                                                                                |                        File No.: 23-C-01894-S6
                                                                                :
 JAY E. JOHNSON; MARK LEGARDA;                                                 |
 MARTIN RUSSO; MATHEW EAST; DOUG                                               |
 BONDAR; MARK BARNES, NANCY                                                    |
                                                                           ||
 LIVINGSTON; KENDALL PATIENT
 RECOVERY U.S., LLC; CARDINAL HEALTH                              9
 INC., AND JOHN DOE NOS. 1-10,
                                                                           |
             Defendant’s.                                                  ∣
                                                                           |
State of Georgia
Walton County

                                            AFFIDAVIT OF SERVICE


       Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
James Basham a United States Citizen and over the age of 18 years after being duly sworn,
                                                                                              deposes and
states that the statements set forth below are true and accurate.



                                                                      1.
             On March       23, 2023,       at approximately                          6:00
                                                                p.m., Doug Bonder, Defendant, in
 the above referenced matter, was personally served with the Summons, Renewal Complaint
                                                                                                        for
 Damages, and General Civil and Domestic Relations Case Filing Information Form.
                                                                                                   Service
 was perfected on Doug Bonder ( white male, 6’1, 180 pounds, 60 years of age). Service was perfected
                                                                                                     at 757
 Locks Way, Augusta, Georgia 30907.



Sworn to and subscribed before me
this 24th day     of March 203.                               Affiant, James Basham
       } ⊽                   ⋅⊲         ↗                     ⋝↽⊜∥⋮⊳⋮≖⇡⋮⋅⋮⋮∣

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My commission expires on 11/21/25
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 Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 78 of 100




                           IN THE STATE COURT OF GWINNETT octet V al                   P
                                                                                           H 3: 16

                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
                             lhe
                                                                          -
 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
                                                                                                   E-FILED IN
                                                                                                   E-FILED IN OFFICE
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      Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 79 ofCLERK OF STATE
                                                                        100 OF STATE COURT
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                                                                                            GWINNETT COUNTY,
                                                                                            GWINNETT COUNTY, GEORGIA
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                               IN THE STATE COURT OF GWINNETT COUNTY                            TIANA P.
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                                                                                                         GARNER, CLERK
                                                                                                      P. GARNER,
                                           STATE OF GEORGIA


BARBARA BETTS,                                          |
                                                        |
         Plaintiff,                                     |
                                                        |         Civil Action
                                                        |         File No.: 23-C-01894-S6
Vs.                                                     |
JAY E.     JOHNSON;        MARK      LEGARDA;            |
MARTIN RUSSO; MATHEW EAST; DOUG                             |
BONDAR; MARK BARNES, NANCY                                  |
LIVINGSTON; KENDALL PATIENT                                 |
RECOVERY U.S., LLC; CARDINAL HEALTH,                         |
INC., AND JOHN DOE NOS. 1-10,                                 |
                                                              |
         Defendant’s.                                        |
                                                              |

State of Georgia
Walton County

                                         AFFIDAVIT OF SERVICE


      ‘Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
James Basham a United States Citizen and over the age of 18 years after being duly sworn, deposes and
states that the statements set forth below are true and accurate.


                                                        1.

          On March          23, 2023,    at approximately         5:50 p.m., Matthew   East, Defendant, in
  the above referenced matter, was personally served with the Summons, Renewal Complaint for
  Damages, and General Civil and Domestic Relations Case Filing Information Form. Service
  was perfected on Matthew East (, white male, 60, 170 pounds, 40 years of age). Service was perfected at
  2013 Pheasant Creek Drive, Augusta, Georgia 30907.



 Sworn to and subscribed before me                                i)
this 24th day       of March 2023.                 AffigA fi ames Basham
                             eff                     ay beete   ty
                j             ?  rd                RS vanS GA f ts,
 NOTARY PUBLIC                                    SON
 My commission expires on 11/21/25
 Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 80 of 100




                           IN THE STATE COURT OF GWINNETT octet V al                   P
                                                                                           H 3: 16

                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
                             lhe
                                                                          -
 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
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       Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 81 ofCLERK
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                                                                                                GWINNETT COUNTY,
                                                                                                GWINNETT COUNTY, GEORGIA
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                           IN THE STATE COURT OF GWINNETT COUNTY                                    TIANA P.
                                                                                                    TIANA  P. GARNER,
                                                                                                              GARNER, CLERK
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                                            STATE OF GEORGIA


BARBARA BETTS,

         Plaintiff,
                                                                   Civil Action
                                                                   File No.: 23-C-01894-S6
Vs.

JAY E. JOHNSON; MARK LEGARDA;
MARTIN RUSSO; MATHEW EAST; DOUG
BONDAR; MARK BARNES, NANCY
LIVINGSTON; KENDALL PATIENT
RECOVERY U.S., LLC; CARDINAL HEALTH,
INC., AND JOHN DOE NOS. 1-10,

         Defendant’s.


State of Georgia
Walton County

                                      AFFIDAVIT OF SERVICE


       Personally, appeared before the undersigned, an officer duly authorizes by law to administer oaths,
James Basham a United States Citizen and over the age of 18 years after being duly sworn, deposes and
states that the statements set forth below are true and accurate.


                                                          Is
         On March       24, 2023,     at approximately         1:30 p.m., Kendall Patient Recovery
 US,   LLC,   Defendant, in the above referenced         matter, was served with the Summons,       Renewal
 Complaint for Damages, and General Civil and Domestic Relations Case Filing Information
 Form. Service was perfected on Rane Richardson, an authorized agent of CT Corporation System, the
 reported Registered Agent of Kendall Patient Recovery US, LLC. Service was perfected at 289 S. Culver Street,
 Lawrenceville, Georgia 30046.



Sworn to and subscribed before me                    (gy)
this 31st da of March Od                          Aftiggl, Jayhes Basham
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NOTARY    PUBLIC                                         on    ‘ 8 ety
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 Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 82 of 100




                           IN THE STATE COURT OF GWINNETT octet V al                   P
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                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
                             lhe
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 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
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                             IN THE STATE COURT OF GWINNETT COUNTY                                    TIANA P.
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                                                                                                               GARNER, CLERK
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                                             STATE OF GEORGIA


 BARBARA BETTS,
         Plaintiff,
                                                                         Civil Action
                                                                         File No.: 23-C-01894-S6
 Vs.

JAY E. JOHNSON; MARK LEGARDA;
MARTIN RUSSO; MATHEW EAST; DOUG
BONDAR; MARK BARNES, NANCY
LIVINGSTON: KENDALL PATIENT
RECOVERY U.S., LLC; CARDINAL HEALTH,
INC., AND JOHN DOE NOS. 1-10,
        Defendant’s.


State of Georgia
Walton County

                                     AFFIDAVIT OF SERVICE


         Personally, appeared before the undersigned, an officer duly authorizes by law to administe
                                                                                                     r oaths,
James Basham a United States Citizen and over the age of 18 years after being duly
                                                                                        sworn, deposes and
states that the statements set forth below are true and accurate.
                                                        1.
         On March       23, 2023,    at approximately        6:34
                                                       p-m., Naney Livingston, Defendant,
 in the above referencedmatter, was sub-served with the Summons, Renewal Complaint for
 Damages, and General Civil and Domestic Relations Case Filing Informat
                                                                        ion Form. Service
 was perfected on Joe Livingston (Brother, black male, 5'5, 150 pounds, 50
                                                                           years of age), a person of suitable
 age who stated that he resides in the residence with Nar y) Livingston. Service was perfected
                                                                                               at 3413 Gary
 Circle, Augusta, Georgia 30906.



Sworn to and subscribed before me
this 24th day of March 2023.

fp
NOTARY            he’
                        of
                        KAMAGRA
My commission expires on 11/21/25
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 Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 84 of 100




                           IN THE STATE COURT OF GWINNETT octet V al                   P
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                                                 STATE OF GEORGIA       TIANA P. GARKER. CLERA
                                                                        HARA P.     GARKCR
  IN RE: Permanent Process Servers
 Case Number:                                          22      &   06375- 3


                                           ORDER OF APPOINTMENT

 The application of the undersigned permanent proces
                                                     s server having been read and considered,
 said applicant is hereby appointed permanent process
                                                          server of this court pursuant to O.C.G.A. §
 9-11-4(c), from the date of this order up to and includ
                                                         ing January 4, 2024.

 This order allows the applicant to serve as a Proces
                                                      s server in Gwinnett County State Court
 matters only, on an annual renewable basis.
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 SO ORDERED this        Oo [F              day of           Novem Lr     20 ae.


                          On
                     Carla Brown (Nov 21, 2022 08:33 EST)
                                                 Presiding Judge
                                          Gwinnett County State Court




Applicant:
 Name         JAMES STEVEN BASHAM

 Address      9590 STONEY CREEK WAY
              LOGANVILLE, GEORGIA 30052

              404-886-4499
                                                                                                                                         E-FILED IN OFFICE - CB
                Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 85 of 100
                                                                                   CLERK OF STATE COURT
                                                                                                                                GWINNETT COUNTY, GEORGIA
                                  General Civil and Domestic Relations Case Filing Information                                               23-C-01894-S6
                                                                                                                                         3/22/2023 5:48 PM
                                                                                                                                     TIANA P. GARNER, CLERK
                             Form ‫ ܆‬Superior or ‫܆‬                   *:,11(77
                                                ; State Court of ______________________________ County

        For Clerk Use Only
                                                                                                    23-C-01894-S6
        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
  Betts Barbara                                       Johnson Jay E.
__________________________________________________ _________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
                                                                                Legarda Mark
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
                                                                                  Russo Martin
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
                                                                                 East Matthew
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
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                       'DUUHQ:3HQQ
Plaintiff’s Attorney ________________________________________                                    
                                                                                   Bar Number __________________         Self-Represented ‫܆‬

                                                         Check One Case Type in One Box

        General Civil Cases                                                             Domestic Relations Cases
        ‫܆‬           Automobile Tort                                                     ‫܆‬            Adoption
        ‫܆‬           Civil Appeal                                                        ‫܆‬            Dissolution/Divorce/Separate
        ‫܆‬           Contract                                                                         Maintenance
        ‫܆‬           Garnishment                                                         ‫܆‬            Family Violence Petition
        ;
        ‫܆‬           General Tort                                                        ‫܆‬            Paternity/Legitimation
        ‫܆‬           Habeas Corpus                                                       ‫܆‬            Support – IV-D
        ‫܆‬           Injunction/Mandamus/Other Writ                                      ‫܆‬            Support – Private (non-IV-D)
        ‫܆‬           Landlord/Tenant                                                     ‫܆‬            Other Domestic Relations
        ‫܆‬           Medical Malpractice Tort
        ‫܆‬           Product Liability Tort                                              Post-Judgment – Check One Case Type
        ‫܆‬           Real Property                                                       ‫܆‬   Contempt
        ‫܆‬           Restraining Petition                                                  ‫ ܆‬Non-payment of child support,
        ‫܆‬           Other General Civil                                                      medical support, or alimony
                                                                                        ‫܆‬   Modification
                                                                                        ‫܆‬   Other/Administrative

‫܆‬       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

;
‫܆‬       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

‫܆‬       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                  Language(s) Required

‫܆‬       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
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                                                                                                                                             Version 1.1.18
    Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 86 of 100




                                    DEFENDANTS
                                    DEFENDANTS LIST
                                               LIST




Doug
Doug Bondar
     Bondar

Mark
Mark Barnes
     Barnes

Nancy Livingston
Nancy Livingston

Kendall
Kendall Patient
        Patient Recovery
                Recovery US,
                         US, LLC.
                             LLC.

Cardinal
Cardinal Health,
         Health, Inc.
                 Inc.

John
John Does Nos. 1-10
     Does Nos. 1-10
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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 87 of 100
                                                                        CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                              23-C-01894-S6
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                                                                                        TIANA P. GARNER, CLERK

                      IN THE STATE COURT OF GWINNETT COUNTY
                                      STATE OF GEORGIA



BARBARA BETTS                                  :
                                               :     C.A. NO: 23-C-01894-S6
                         Plaintiff,            :
                                               :
               VS.                             :
                                               :
JAY E. JOHNSON; MARK LEGARDA;                  :
MARTIN RUSSO; MATTHEW EAST;                    :
DOUG BONDAR; MARK BARNES;                      :
NANCY LIVINGSTON; KENDALL                      :
PATIENT RECOVERY U.S., LLC;                    :
CARDINAL HEALTH, INC. and JOHN                 :
DOE NOS. 1-10,                                 :

                       Defendants.

                                  ENTRY OF APPEARANCE


       COMES NOW, W. Charles Ross of the firm Powell & Edwards, PC and hereby enters his

appearance as additional counsel on behalf of Defendants Kendall Patient Recovery U.S., LLC

and Cardinal Health, Inc., in the above-styled action.

       This 29th day of March, 2023.


                                              /s/ W. Charles Ross
                                              W. Charles Ross
                                              Georgia Bar No. 615217
                                              Attorney for Defendants Kendall Patient Recovery
                                              U.S., LLC and Cardinal Health, Inc.
     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 88 of 100




                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 29th day of March, 2023, I electronically filed the foregoing

with the Clerk of Court using the Court’s electronic filing system, which will automatically send

email notification of such filing to all counsel of record.




                                               /s/ W. Charles Ross
                                               W. Charles Ross
                                               Georgia Bar No. 615217
                                               Attorney for Defendants Kendall Patient Recovery
                                               U.S., LLC and Cardinal Health, Inc.



POWELL & EDWARDS, PC
P.O. Box 1390
Lawrenceville, Georgia 30046
Phone (770) 962-0100
Fax (770) 963-3424
cross@powelledwards.com
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     Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 89 of 100
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                                                                                            23-C-01894-S6
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                   IN THE STATE COURT OF GWINNETT COUNTY
                              STATE OF GEORGIA

BARBARA BETTS,
               Plaintiff,
                                                       C.A. No. 23-C-01894-S6
v.

JAY E. JOHNSON; MARK LEGARDA;
MARTIN RUSSO; MATTHEW EAST;
DOUG BONDAR; MARK BARNES;
NANCY LIVINGSTON; KENDALL
PATIENT RECOVERY U.S., LLC;
CARDINAL HEALTH, INC. and JOHN
DOE NOS. 1-10,
               Defendants.


                                ENTRY OF APPEARANCE

        NOW COMES S. Derek Bauer of the law firm of Baker and Hostetler, LLP, and hereby

enters his appearance as counsel of Defendants, Kendall Patient Recovery U.S., LLC and

Cardinal Health, Inc. Please include him on all future communications concerning this matter.

               Name:         S. Derek Bauer
               State Bar No: 042537
               Address:      Baker Hostetler
                             1170 Peachtree Street | Suite 2400
                             Atlanta, GA 30309
               Telephone:    (404) 256.8425
               E-mail:       dbauer@bakerlaw.com

       Respectfully submitted, this 29th day of March, 2023.

                                                /s/ S. Derek Bauer
                                                W. Charles Ross
                                                Georgia Bar No. 615217
                                                cross@powelledwards.com
                                                POWELL & EDWARDS PC
                                                P.O. Box 1390
                                                Lawrenceville, Georgia 30046
                                                Telephone: (770) 962-0100
      Case 1:23-mi-99999-UNA Document 1116-1 Filed 04/11/23 Page 90 of 100




                                           S. Derek Bauer
                                           Georgia Bar No. 042537
                                           dbauer@bakerlaw.com
                                           Georgia L. Bennett
                                           Georgia Bar No. 495910
                                           gbennett@bakerlaw.com
                                           BAKER & HOSTETLER, LLP
                                           1170 Peachtree Street, Suite 2400
                                           Atlanta, Georgia 30309
                                           Telephone: 404-256-8425

                                           Matthew D. Thurlow
                                           (Pro Hac Vice Forthcoming)
                                           mthurlow@bakerlaw.com
                                           BAKER & HOSTETLER LLP
                                           1050 Connecticut Avenue NW, Suite 1100
                                           Washington, DC 20036
                                           Telephone: 202-861-1681

                                           Counsel for Defendants Kendall Patient
                                           Recovery U.S., LLC and Cardinal Health,
                                           Inc.




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          I hereby certify that on this 29th day of March, 2023, I electronically filed the foregoing

with the Clerk of Court using the Court’s electronic filing system, which will automatically send

email notification of such filing to all counsel of record.

                                                       /s/ S. Derek Bauer
                                                       S. Derek Bauer
                                                       Georgia Bar No. 042537




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                                          IN THE STATE COURT OF GWINNETT COUNTY                                                                   3/22/2023 5:48 PM
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                                          IN THE STATE COURT OF GWINNETT COUNTY                                                                   3/22/2023 5:48 PM
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